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                     UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          SOUTHERN DIVISION

   ____________________________________

   In re Effexor XR
   Antitrust Litigation                     Master File No. 1:11 cv 196 LG-RHW
   ____________________________________

   THIS DOCUMENT RELATES TO
   All Actions
   ____________________________________




                     DIRECT PURCHASER PLAINTIFFS’
                 CONSOLIDATED CLASS ACTION COMPLAINT
                          AND JURY DEMAND

                       (Leave to File Granted June 21, 2011)
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                                     I.     INTRODUCTION

        1.       This antitrust class action seeks damages for the delayed entry of generic versions

 of Wyeth’s Effexor XR, an encapsulated extended release version of the compound venlafaxine

 hydrochloride. Although Wyeth’s marketing exclusivity for the original compound patent for

 Effexor XR lapsed on June 13, 2008, the first generic equivalent was foreclosed for two more

 years, until June 2010, and other generics remained foreclosed until June 2011. The reason:

 Wyeth engaged in an anticompetitive scheme to prevent and delay the approval and marketing of

 generic versions of Effexor XR. Wyeth’s scheme included (i) fraudulently procuring three

 patents for extended release formulations of venlafaxine hydrochloride, (ii) wrongfully listing

 those patents in the FDA Orange Book, and (iii) engaging in serial sham litigation to block and

 delay multiple generic companies from entering the market for extended release venlafaxine

 hydrochloride capsules.

        2.       Wyeth obtained three method of use patents: the ‘171 patent, the ‘958 patent, and

 the ‘120 patent. These three patents ostensibly extended Wyeth’s monopoly on extended release

 venlafaxine hydrochloride by nine years, until March 20, 2017. But Wyeth was only able to

 obtain these patents by misrepresenting material information to the U.S. Patent and Trademark

 Office (PTO). Under the stark light of patent infringement litigation, Wyeth knew there was no

 realistic likelihood that a court would enforce the ‘171, ‘958, or ‘120 patents against a generic

 manufacturer.

        3.       The Nausea Fraud. Wyeth obtained method of use claims for extended release

 venlafaxine by fraudulently claiming clinical data showed that Wyeth’s extended release version

 of venlafaxine hydrochloride, Effexor XR, reduced the incidence of nausea and vomiting

 associated with instant release Effexor.




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        4.        The Unexpected Discovery Invalidity and Fraud. Wyeth fraudulently claimed

 that its purported discovery of an extended release version of Effexor was unexpected, despite

 knowing (i) an earlier Wyeth patent (the Upton patent) and a patent application by a Wyeth

 collaborator (the ‘589 PCT application) previously disclosed extended release versions of

 Effexor and (ii) one skilled in the art would be aware of several methods for achieving extended

 or sustained release formulations.

        5.        The Prior Rejection Invalidity and Fraud. Wyeth obtained method of use claims

 for extended release venlafaxine by failing to disclose that its own Upton patent disclosed

 extended release venlafaxine. Wyeth further failed to disclose to later examiners that (i) the

 original patent examiner had found its method of use claims unpatentable in light of the Upton

 patent and (ii) Wyeth had agreed with this rejection.

        6.        Wyeth used the fraudulently obtained patents to block generic versions of Effexor

 XR from the market by listing these patents in the Orange Book and promptly filing baseless

 patent infringement litigation against each and every generic manufacturer that tried to bring an

 extended release venlafaxine product to market, thereby triggering the automatic two-and-a-half

 year stays of FDA approval provided by the Hatch Waxman amendments. Wyeth asserted

 generic manufacturers were infringing its method of use patents – patents Wyeth knew to be

 invalid and/or unenforceable – in at least fourteen sham lawsuits. The generic manufacturers

 uniformly responded by pointing out that Wyeth’s method of use patents were invalid and/or

 unenforceable.

        7.        Wyeth listed the patents and initiated the sham infringement suits despite

 knowing the method of use patents were fraudulently obtained, invalid, and/or unenforceable.

 Without the invalid and/or unenforceable patents, Wyeth could not have manipulated the Hatch-




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 Waxman statute to exclude generic versions of Effexor XR. Generic manufacturers would have

 obtained FDA approval to sell their much less expensive extended release venlafaxine products

 at least two years earlier.

         8.      Wyeth, so far, has settled each and every lawsuit prior to a court determining

 whether the ‘171, ‘958, and ‘120 patents were invalid and/or unenforceable. The settlements

 were “win-win” for Wyeth and first generic filer Teva – they prolonged Wyeth’s market

 exclusivity far beyond its lawful protection of mid-2008, and enabled Teva to maintain and

 extend its generic exclusivity rights, while also providing Teva with significant additional

 benefits in exchange for its agreement not to market its generic version of Effexor XR until June

 2010. But American purchasers lost, and continued to pay unnecessarily high prices for

 extended release venlafaxine for two more years.

         9.      If Wyeth had not fraudulently obtained the method of use patents, had not listed

 those patents in the Orange Book, and/or had not brought sham infringement actions, generic

 extended release products would have launched for sale in June of 2008. Absent its fraud and

 other wrongful conduct, Wyeth could not have extended its monopoly in the market for extended

 release venlafaxine hydrochloride capsules beyond June 2008 through the settlements of its

 improper patent lawsuits – since those lawsuits would not have existed absent Wyeth’s fraud in

 obtaining and/or listing the allegedly infringed patents.

         10.     As a result of Wyeth’s fraud and other exclusionary conduct, generic versions of

 Effexor XR were illegally blocked from the marketplace from June 2008 through at least June

 2010. During this period of foreclosure, U.S. retail sales of Effexor XR topped $4.5 billion.

 Direct purchasers paid significantly more for extended release venlafaxine hydrochloride




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 capsules during this two year window (and continue to pay more for Effexor XR and its generic

 equivalents) than they would have in the absence of Wyeth’s illegal anticompetitive acts.

                             II.     JURISDICTION AND VENUE

        11.     This action arises under section 2 of the Sherman Act (15 U.S.C. § 2) and section

 4 of the Clayton Act (15 U.S.C. §§15(a)) to recover threefold damages, costs of suit, and

 reasonable attorneys’ fees for the injuries sustained by Plaintiffs and members of the Direct

 Purchaser Class resulting from Defendants’ unlawful foreclosure of the market for extended

 release venlafaxine hydrochloride capsules. The Court has subject matter jurisdiction under 28

 U.S.C. §§ 1331, 1332(d), 1337(a), and 15 U.S.C. § 15.

        12.     Wyeth transacts business within this district. Venue is appropriate within this

 district under section 12 of the Clayton Act (15 U.S.C. § 22) and 28 U.S.C. §1391(b) and (c).

                                      III.   THE PARTIES

        13.     Plaintiff Professional Drug Company, Inc. (“Professional Drug”) is corporation

 organized under the laws of the State of Mississippi that purchases pharmaceuticals directly from

 manufacturers and resells them at wholesale prices to indirect purchasers. Professional Drug’s

 principal place of business is 186 Bohn Street, Biloxi, Mississippi 39530. Professional Drug

 purchased Effexor XR directly from Defendant Wyeth during the class period. Wyeth’s unlawful

 anticompetitive conduct injured Professional Drug.

        14.     Plaintiff Rochester Drug Co-Operative, Inc. (“RDC”) is a stock corporation duly

 formed and existing under the New York Cooperative Corporations Law, with a principal place

 of business located at 50 Jet View Drive, Rochester, New York 14624. RDC purchased Effexor

 XR directly from Wyeth during the class period. Wyeth’s unlawful anticompetitive conduct

 injured RDC.




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        15.     Plaintiff Stephen L. LaFrance Holdings, Inc. is a holding company with interests

 in retail and wholesale distribution. Its corporate office is located in Pine Bluff, Arkansas.

 Plaintiff Stephen L. LaFrance Pharmacy, Inc. d/b/a SAJ Distributors (collectively with Stephen

 L. LaFrance Holdings, Inc., “LaFrance”) is a wholly owned subsidiary of Stephen L. LaFrance

 Holdings, Inc. and is its distribution company with interests in retail and wholesale drug

 distribution. Stephen L. LaFrance Pharmacy, Inc. d/b/a SAJ Distributors’ corporate office is

 located in Pine Bluff, Arkansas. LaFrance is the assignee of McKesson Corporation, which

 purchased Effexor XR directly from Wyeth during the class period and was injured by the illegal

 conduct alleged herein.

        16.     Defendant Wyeth – a/k/a Wyeth LLC, f/k/a Wyeth, Inc., f/k/a American Home

 Products – is a corporation organized and existing under the laws of the state of Delaware.

 Wyeth’s principal place of business is Madison, New Jersey. On information and belief,

 American Home Products changed its name to Wyeth, Inc., and Wyeth, Inc. later changed its

 name to Wyeth LLC. Wyeth is now a wholly owned subsidiary of Pfizer.

        17.     Defendant Wyeth Pharmaceuticals, Inc. is a corporation organized and existing

 under the laws of the state of Delaware with a principal place of business in Collegeville,

 Pennsylvania. Wyeth Pharmaceuticals, Inc. is a member of Wyeth Pharmaceuticals Division and

 was a wholely owned subsidiary of Wyeth.

        18.     Defendants Wyeth and Wyeth Pharmaceuticals, Inc. are referred to collectively as

 “Wyeth.”

        19.     Throughout this complaint, the phrase “the Wyeth applicants” refers to Wyeth,

 the named inventors of the ‘171, ‘958, and ‘120 patents, the prosecuting attorneys of the ‘171,

 ‘958, and ‘120 patents, and agents thereof. The Wyeth applicants include, but are not limited to:




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 inventors John C. Clark, John U. Lamer, Deborah M. Sherman, and Steven A. White as well as

 attorneys Ronald W. Alice, Rebecca Barrett, Egon Berg, Robert Boswell Jr., Steven R. Eck, and

 Arthur Seifert. The term also includes any agents from Wyeth of these persons.

                                IV.     LEGAL BACKGROUND

 A.     The Regulatory Structure for Approval of Generic Drugs and Substitution of
        Generics for Brand Name Drugs

        20.     Under the Federal Food, Drug, and Cosmetic Act (“FDCA”), manufacturers who

 create a new drug product must obtain the approval of the FDA to sell the new drug by filing a

 New Drug Application (“NDA”). 21 U.S.C. §§ 301-392. An NDA must include submission of

 specific data concerning the safety and effectiveness of the drug, as well as any information on

 applicable patents. 21 U.S.C. § 355(a), (b).

        21.     When the FDA approves a brand name manufacturer’s NDA, the brand

 manufacturer may list any patents that the brand manufacturer believes could reasonably be

 asserted against a generic manufacturer who makes, uses, or sells a generic version of the brand

 name drug prior to the expiration of the listed patents in the FDA’s book of Approved Drug

 Products with Therapeutic Equivalence Evaluations, commonly referred to as the “Orange

 Book.” Patents issued after NDA approval may be listed within 30 days of issuance. 21 U.S.C.

 §§ 355 (b)(1) & (c)(2).

        22.     The FDA relies completely on the brand name manufacturer’s truthfulness about

 patents’ validity and applicability; the FDA has neither the authority nor the resources to check

 the manufacturer’s representations for accuracy or trustworthiness.

        1.      The Hatch-Waxman Amendments

        23.     The Hatch-Waxman Amendments enacted in 1984 simplified the regulatory

 hurdles for prospective generic manufacturers by eliminating the need for them to file lengthy




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 and costly NDAs. See Drug Price Competition and Patent Term Restoration Act, Pub. L. No.

 98-417, 98 Stat. 1585 (1984). A generic manufacturer seeking approval to sell a generic version

 of a brand name drug may now file an Abbreviated New Drug Application (ANDA). An ANDA

 relies on the scientific findings of safety and effectiveness included in the brand name drug

 manufacturer’s original NDA, but must show that the generic drug contains the same active

 ingredient(s), dosage form, route of administration, and strength as the brand name drug – that is,

 that the generic drug is bioequivalent to the brand name drug. The FDA assigns generic drugs

 that are bioequivalent to branded drugs an “AB” rating.1

          24.      The FDCA and Hatch-Waxman Amendments operate on the presumption that

 bioequivalent drug products containing identical amounts of the same active ingredients in the

 same route of administration and dosage form, and meeting applicable standards of strength,

 quality, purity and identity, are therapeutically equivalent and may be substituted for one

 another. Thus, bioequivalence demonstrates that the active ingredient of the proposed generic

 drug would be present in the blood of a patient to the same extent and for the same amount of

 time as the branded counterpart. 21 U.S.C. § 355(j)(8)(B).

          25.      Through the Hatch-Waxman Amendments, Congress sought to expedite the entry

 of generic drugs, thereby reducing healthcare expenses nationwide. Congress also wanted to

 protect pharmaceutical companies’ incentives to create new and innovative products.

          26.      The Hatch-Waxman Amendments achieved both goals, substantially advancing

 the rate of generic product launches, and ushering in an era of historic high profit margins for


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       Generic manufacturers can also seek approval of non-AB-rated generics. The FDCA permits “hybrid”
 applications that are neither full NDAs containing safety and efficacy data, nor ANDA applications showing that the
 proposed product is the “same” as the NDA product. 21 U.S.C. § 505(b)(2). Drug products approved under this
 section use a safe and effective active pharmaceutical ingredient, but modify the drug product in some way so that it
 differs from the original NDA product, either in dosage form, strength, route of administration, formulation, dosing
 regimen, or indication. These non-AB-rated generics are not bioequivalent to the innovator product. See 21 CFR
 314.54.



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 brand name pharmaceutical companies. In 1983, pre-Hatch Waxman Amendments, only 35% of

 the top-selling drugs with expired patents had generic versions available; by 1998, nearly all did.

 In 1984, prescription drug revenue for branded and generics totaled $21.6 billion and generic

 drugs accounted for 18.6% of prescriptions. By 2009, total prescription drug revenue had soared

 to $300 billion and generic drugs accounted for 75% of prescriptions.

        2.      Paragraph IV Certifications

        27.     To obtain FDA approval of an ANDA, a generic manufacturer must certify that

 the generic drug addressed in its ANDA will not infringe any patents listed in the Orange Book.

 Under Hatch-Waxman, a generic manufacturer’s ANDA must contain one of four certifications:

                 i.     that no patent for the brand name drug has been filed with the FDA (a
                        “Paragraph I certification”);

                ii.     that the patent for the brand name drug has expired (a “Paragraph II
                        certification”);

               iii.     that the patent for the brand name drug will expire on a particular date and
                        the generic company does not seek to market its generic product before
                        that date (a “Paragraph III certification”); or

               iv.      that the patent for the brand name drug is invalid or will not be infringed
                        by the generic manufacturer’s proposed product (a “Paragraph IV
                        certification”).

        28.     If a generic manufacturer files a Paragraph IV certification, a brand name

 manufacturer has the ability to delay FDA approval of an ANDA simply by suing the ANDA

 applicant for patent infringement. If the brand name manufacturer initiates a patent infringement

 action against the generic filer within 45 days of receiving notification of the Paragraph IV

 certification, the FDA may not grant final approval to the ANDA until the earlier of (a) the

 passage of 30 months, or (b) the issuance of a decision by a court that the patent is invalid or not

 infringed by the generic manufacturer’s ANDA. The FDA may grant “tentative approval,” but

 cannot authorize the generic manufacturer to go to market.


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        29.     As an incentive to spur generic companies to seek approval of generic alternatives

 to branded drugs, the first generic manufacturer to file an ANDA containing a Paragraph IV

 certification gets a period of protection from competition with other generic versions of the drug.

 For Paragraph IV certifications made prior to December 2003, the first generic applicant is

 entitled to 180 days of market exclusivity, i.e., the first approved generic is the only available

 generic for at least six months.

        30.     The high profit margins on brand name drugs, and the predictable effects of

 generic entry – sales switch quickly from the brand to the generic – create powerful financial

 incentives for brand name manufacturers to list patents in the Orange Book – even if such patents

 are not eligible for listing – and sue any generic competitor that files an ANDA with Paragraph

 IV certifications – even if the competitor’s product does not actually infringe the listed patent(s)

 and/or the patent is invalid and unenforceable – in order to delay final FDA approval of an

 ANDA for up to 30 months.

 B.     The Benefits of Generic Drugs

        31.     Typically, AB-rated generics cost much less than their branded counterparts.

 Over time, as more generic equivalents compete with each other, prices decline even further.

 Since passage of the Hatch-Waxman Amendments, every state has adopted substitution laws that

 either require or permit pharmacies to substitute AB-rated generic equivalents for branded

 prescriptions (unless the prescribing physician has specifically ordered otherwise).

        32.     Every link in the prescription drug chain has an incentive to choose less-

 expensive generic equivalents. As a result of federal reimbursement rules and the industry

 pricing structure, pharmacies typically earn a higher markup on generics. Private health insurers

 similarly offer direct incentives to pharmacies to substitute cheaper generic products for more

 expensive branded ones. Health insurers are contractually obligated to pay for the bulk of their


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 members’ prescriptions, whether filled with branded or generic drugs, so offer their members

 lower copays for generic drugs in order to encourage the use of generics. Members also face the

 threat of increased health insurance premiums if branded prescription drug costs continue to rise.

        33.     Once a generic equivalent hits the market, the generic quickly captures sales of

 the branded drug. More than 90 percent of prescriptions for drugs that are available in both

 branded and generic forms are filled with a generic. The speed with which generic drugs take

 over the market appears to be increasing: in a sample of drugs losing patent protection between

 1991 and 1993, generics on average held a 44 percent market share after one year; by 2010, IMS

 industry data reflects that, on average, generics capture 80% of the brand’s sales within 6

 months.

        34.     Branded manufacturers are well aware of generics’ steady erosion of their

 previously monopolized market. Branded manufacturers thus seek to extend their monopoly for

 as long as possible, sometimes resorting to any (illegal) means possible.

                                           V.      FACTS

 A.     Wyeth Obtains the Original Compound Patent for Effexor

        35.     On August 13, 1985, the U.S. Patent and Trademark Office (PTO) issued a patent

 for the compound venlafaxine hydrochloride (“venlafaxine”), U.S. Patent No. 4,535,186 (the

 Husbands patent). The inventors G.E. Morris Husbands, John P. Yardley, and Eric A. Muth

 assigned the Husbands patent to American Home Products – later Wyeth.

        36.     Eight years later, on December 28, 1993, the FDA approved Wyeth’s NDA for

 Effexor, an antidepressant whose active pharmaceutical ingredient is venlafaxine. Effexor is a

 tablet that dissolves rapidly, resulting in a rapid increase in blood plasma levels of venlafaxine

 shortly after administration. Compounds with such rapid dissolution profiles are referred to as




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 “instant release” formulations. Levels of venlafaxine in the blood decrease over time, reaching

 subtherapeutic levels in about twelve hours. Effexor is thus usually taken twice a day.

         37.     The Husbands patent protected Wyeth’s venlafaxine products by blocking generic

 equivalents from entering the market until June 13, 2008 (expiry of the patent would have

 occurred years earlier, but Wyeth received a significant extension to reflect the NDA approval

 time period for Effexor, and an additional six month extension for having conducted pediatric

 studies). As a result, Wyeth would have market exclusivity for both instant release and extended

 release venlafaxine hydrochloride for 14 ½ years. This lawful period of market exclusivity

 would enable Wyeth to market its venlafaxine products – both Effexor and Effexor XR – without

 generic competition, resulting in huge sales and profits to Wyeth. But the quid pro quo of the

 patent laws is that after those 14 ½ years, generic companies would be in a position to launch

 competing products at markedly lower prices that benefit American purchasers.

 B.      Wyeth Schemes to Extend its Extended-Release Venlafaxine Monopoly

         38.     Although the original Husbands patent – and extensions for NDA approval and

 pediatric studies – provided Wyeth with 14 ½ years of market exclusivity for venlafaxine

 products, this was not enough for Wyeth. Wyeth sought to extend the length of its exclusivity

 even further. Wyeth sought to obtain patents for the routine development of extending the

 release of venlafaxine, knowing that it worked in an already crowded area of intellectual

 property and that these developments were in no way new inventions. Yet it persisted,

 misrepresenting the prior art and its clinical tests, all in an effort to gain market exclusivity

 beyond its lawful 14 ½ years.

         39.     In the 1990’s, methods for achieving sustained or extended release of the active

 ingredient in pharmaceuticals were well known in the industry. It was common knowledge that

 the rate of drug release from solid dosage forms may be extended by (a) modifying drug


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 dissolution by controlling access of biologic fluids to the drug through use of barrier coatings, (b)

 controlling drug diffusion rates from dosage forms, and (c) chemical reaction or interaction

 between a drug substance or its pharmaceutical barrier and site-specific biologic fluids. These

 methods use coated beads, granules, and microspheres; micro-encapsulated drugs; sustained-

 release, extended-release, timed-release, controlled-release, or continuous-release tablets or

 capsules; or embedding the drugs in slowly eroding or hydrophilic matrix systems.

        40.     Given the industry’s knowledge and prior art, Wyeth knew it would be difficult, if

 not impossible, to legitimately obtain a patent for extended release formulations of venlafaxine.

 Even if a particular formulation could be patented, it could not prevent generics from designing

 around such a formulation patent by developing non-infringing formulations of extended release

 venlafaxine.

        41.     Consequently, Wyeth adopted a “method of use” strategy, and set out to patent

 independent claims that broadly covered methods of using extended release venlafaxine,

 methods that were not tied to any specific formulation. Wyeth knew that there must be

 something new, novel, or surprising about the methods of use in order to make its extended

 release venlafaxine patentable.

        42.     Even without patent protection beyond the original Husbands patent, Wyeth

 would still enjoy more than ten years of market exclusivity for Effexor XR. But without another

 patent, Effexor XR would face generic competition by June of 2008, the expiration date of the

 Husbands patent.

 C.     Wyeth Fraudulently Obtains Three Method of Use Patents for Effexor XR

        43.     On March 25, 1996, the Wyeth applicants filed their first application for a series

 of method of use patents for extended release venlafaxine hydrochloride. Two months later, on

 May 16, 1996, Wyeth sought FDA approval to sell an encapsulated extended release formulation


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 of venlafaxine hydrochloride called Effexor XR. On October 20, 1997, the FDA approved

 Wyeth’s NDA for Effexor XR. Effexor XR is typically taken once a day.

        44.     Wyeth submitted six sequential applications that led to three method of use

 patents, the ‘171, ‘958, and ‘120 patents. All three patents are, and have always been,

 unenforceable; they only issued because Wyeth defrauded the PTO. These patents, and these

 patents only, prevented generics from coming to market in June of 2008.

        45.     A brief summary of Wyeth’s patent application history follows. Wyeth’s fraud in

 securing these patents is then described in detail.




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         1.       The Application History of the Invalid and/or Unenforceable ‘171, ‘958, and
                  ‘120 Patents


   ‘006 Application
      Provisional
    March 25, 1996



   ‘137 Application
        Utility
    March 20, 1997
    ABANDONED



  ‘328 Application
 Continuation-in-Part
  November 5, 1997
   ABANDONED



  ‘629 Application
 Continuation-in-Part
  January 20, 2000




                                     ‘412 Application
                                         Divisional
                                       June 19, 2001
    ‘171 Patent
  August 14, 2001
                                                                 ‘965 Application
                                                                   Continuation
                                                                September 12, 2001




                                                                     ‘120 Patent
                                        ‘958 Patent                 June 11, 2002
                                       July 16, 2002




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                a.      Wyeth’s Original ‘006 Application

        46.     On March 25, 1996, the Wyeth applicants filed a provisional utility patent

 application, No. 60/014,006 (“ ‘006 application”) with the PTO. A utility patent application

 seeks to protect a new, useful, or nonobvious process or composition. Provisional patent

 applications require only a brief written description of the claimed subject matter. Inventors

 must file a non-provisional application with formal claims within one year. Filing a provisional

 application essentially allows an inventor to establish a date of invention one full year before the

 inventor actually submits evidence of his invention’s patentability.

                b.      Wyeth’s ‘137 Application

        47.     Almost exactly one year after filing the provisional application, on March 20,

 1997, the Wyeth applicants filed a non-provisional application, No. 08/821,137 (“ ‘137

 application”). The ‘137 application claimed priority to the ‘006 application – meaning, the

 patentability of the ‘137 application would be evaluated as though it were filed a year earlier.

 The examiner required the Wyeth applicants to amend certain claims in light of prior art. On

 August 5, 1997, the examiner issued a notice of allowance for the amended claims. Despite the

 notice of allowance, the Wyeth applicants abandoned the ‘137 application.

                c.      Wyeth’s ‘328 Application

        48.     On November 5, 1997, the Wyeth applicants filed a continuation-in-part

 application, No. 08/964,328 (“ ‘328 application”). A continuation-in-part application repeats

 most of an earlier parent application but adds information that was not disclosed in the previous

 application. A continuation-in-part application must be filed while the earlier application is still

 pending.

        49.     The ‘328 application claimed priority to the ‘137 application and the ‘006

 application. The examiner allowed some claims and rejected others in light of prior art. On



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 February 16, 2000, the Wyeth applicants abandoned the ‘328 application – including the allowed

 claims.

                 d.     Wyeth’s ‘629 Application and the ‘171 Patent

           50.   On January 20, 2000 – one month before abandoning the ‘328 application – the

 Wyeth applicants filed a continuation-in-part application, No. 09/488,629 (“ ‘629 application”)

 that claimed priority to the ‘328 application, the ‘137 application, and the ‘006 application. The

 examiner allowed some claims and rejected others. The Wyeth applicants canceled one claim,

 amended other claims, and added new claims. The examiner allowed the claims (as amended).

           51.   On August 14, 2001, the ‘629 Application issued as U.S. Patent No. 6,274,171 B1

 (“ ‘171 patent”). The ‘171 patent contains 25 claims in total, including claims for (i) an extended

 release form of venlafaxine hydrochloride with spheroids, (ii) independent method of use claims

 for decreasing the incidence of nausea and vomiting, and (iii) independent method of use claims

 for minimizing the troughs and peaks in drug concentration in patient’s blood plasma. The ‘171

 patent expires on March 20, 2017. The ‘171 patent is assigned to Wyeth.

                 e.     Wyeth’s ‘412 Application and the ‘958 Patent

           52.   On June 19, 2001 – two months prior to the issuance of the ‘171 patent – the

 Wyeth applicants filed a divisional application, No. 09/884,412 (“ ‘412 application”). A

 divisional application is an application for an independent or distinct invention disclosing and

 claiming (only) a portion of the subject matter disclosed in an earlier application. The ‘412

 application claimed priority to the ‘629 application (which resulted in the ‘171 Patent), the ‘328

 application, the ‘137 application, and the ‘006 application. The examiner rejected some claims

 and allowed others. The Wyeth applicants then canceled one claim and added new claims that

 were substantially similar to claims issued in the ‘171 patent.




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           53.   On July 16, 2002, the ‘412 application issued as U.S. Patent No. 6,419,958 B2 (“

 ‘958 patent”). The ‘958 patent includes claims for (i) methods of use to decrease the incidence

 of nausea and vomiting and (ii) methods of use for minimizing the troughs and peaks in drug

 concentration in patient’s blood plasma. The ‘958 patent included a terminal disclaimer that

 Wyeth did not seek an additional time period of patent protection beyond that afforded by the

 ‘171 patent – that is, through March 20, 2017. The ;958 patent is assigned to Wyeth.

                 f.     Wyeth’s ‘965 Application and the ‘120 Patent

           54.   On September 12, 2001, Wyeth filed a continuation application, No. 09/950,965

 (“ ‘965 application”) that claimed priority to‘412 application (which resulted in the ‘958 patent),

 the ‘629 application (which resulted in the ‘171 patent), the ‘328 application, the ‘137

 application, and the ‘006 application. The examiner rejected some claims and allowed others.

 Wyeth amended some claims to overcome the rejections. The examiner allowed the amended

 claims.

           55.   On June 11, 2002, the ‘965 application issued as U.S. Patent No. 6,403,120 B1

 (“ ‘120 patent”). The ‘120 patent contains 14 claims, all reciting a method of use for reducing

 the incidence of nausea and vomiting. The ‘120 patent also expires on March 20, 2017. The

 ‘120 patent is assigned to Wyeth.

           2.    The Nausea Fraud: Wyeth Fraudulently Claimed Clinical Data Showed a
                 Reduction in Nausea and Emesis

                 a.     Wyeth Claimed Effexor XR Significantly Reduced the Incidence of
                        Nausea and Emesis Associated with Effexor

           56.   In order to obtain a patent that protects a specific method of using a product, the

 applicants must have a legitimate basis for claiming that the method actually accomplishes what

 the applicants claim it accomplishes. That is, the applicants cannot just claim a method of using




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 a pharmaceutical that reduces nausea; applicants must have a basis for claiming that the method

 of use reduces nausea and the method of use must actually reduce nausea.

        57.     In the original ‘006 provisional application, the Wyeth applicants claimed its

 patentable invention related to a 24-hour extended release dosage formulation of venlafaxine that

 “provides a lower incidence of nausea and vomiting than the conventional tablets.” Specifically,

 the Wyeth applicants told the PTO that the use of the once-a-day formulation of venlafaxine

 hydrochloride capsules (later marketed as Effexor XR) reduced “the level of nausea and

 incidence of emesis that attends the administration of multiple daily dosing.” The term ‘emesis’

 means vomiting.

        58.     In support of this statement, the Wyeth applicants claimed clinical data showed

 that the incidence of nausea in people taking extended release venlafaxine was significantly less

 than in patients taking instant release venlafaxine:

                In clinical trials of venlafaxine hydrochloride ER, the probability
                of developing nausea in the course of the trials was greatly reduced
                after the first week. Venlafaxine ER showed a statistically
                significant improvement over conventional venlafaxine
                hydrochloride tablets in two eight-week and one 12 week clinical
                studies.

 The Wyeth applicants made the same claim, repeating the exact same language, in the

 specifications accompanying the ‘137 application, the ‘328 application, the ‘629 application, the

 ‘412 application, and the ‘965 application. The exact same language appears in the ‘171 patent,

 the ‘958 patent, and the ‘120 patent.

        59.     The Wyeth applicants claimed that in light of the clinical data, it was entitled to

 method of use patents for the reduction in the incidence of nausea and emesis (vomiting):

                Thus, in accordance with this use aspect of the invention there is
                provided a method for reducing the level of nausea and incidence
                of emesis attending the administration of venlafaxine
                hydrochloride which comprises dosing a patient in need of


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                treatment with venlafaxine hydrochloride with an extended release
                formulation of venlafaxine hydrochloride once a day in a
                therapeutically effective amount.

 The Wyeth applicants made the same claim, repeating the exact same language, in the

 specifications accompanying the ‘137 application, the ‘328 application, the ‘629 application, the

 ‘412 application, and the ‘965 application. The exact same language appears in the ‘171, ‘958,

 and ‘120 patent specifications.

        60.     The Wyeth applicants did not provide the PTO with any other evidence of Effexor

 XR’s ability to reduce the incidence of nausea or vomiting. Wyeth did not disclose to the PTO

 which studies showed the reported reductions; nor did Wyeth disclose to the PTO the raw data

 collected in these studies. Wyeth’s sole support for its method of use claim for the reduction of

 vomiting and emesis was the express representation that two eight week and one twelve week

 clinical study showed that Effexor XR “showed a statistically significant improvement” in the

 incidence of nausea and emesis over conventional Effexor.

                b.      The Clinical Data Did Not Show That Effexor XR Significantly
                        Reduced the Incidence of Nausea and Emesis

                        (1)     None of the Three Studies Showed a Reduction in Nausea or
                                Emesis

        61.     The Wyeth applicants repeatedly told the PTO that “Venlafaxine ER showed a

 statistically significant improvement over conventional venlafaxine hydrochloride tablets in two

 eight-week and one 12 week clinical studies.” The Wyeth applicants first made this statement in

 its March 25, 1996 ‘006 provisional application. It was not until nine years later – four years

 after securing the first method of use patent and in the context of patent infringement litigation

 with generic companies – that Wyeth first identified the “two eight week and one 12 week

 studies:” “600B-208-US,” “600B-209-US,” and “600B-367-EU,” or studies 208, 209, and 367.




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 Wyeth relied on these studies in seeking FDA approval of Effexor XR, but never identified them

 to the PTO.

        62.     Study 208 was a double-blind, flexible dose, twelve-week efficacy study of

 Effexor XR, Effexor, and placebo in outpatients with major depression.

        63.     Study 209 was a double-blind, flexible dose, eight-week study of Effexor XR and

 placebo in outpatients with major depression. Study 209 did not use instant release Effexor as a

 comparator.

        64.     Study 367 was a double-blind, flexible dose, eight-week efficacy study of Effexor

 XR, the antidepressant Paxil, and placebo in outpatients with major depression. Study 367 did

 not use instant release Effexor as a comparator.

        65.     None of these three clinical studies showed that Effexor XR had a statistically

 significant improvement in the incidence of nausea over Effexor.

        66.     Studies 209 and 367 could not possibly have shown a reduction in nausea and

 emesis over conventional venlafaxine hydrochloride (Effexor) because they did not include a

 group of patients taking instant release, conventional, Effexor. Only study 208 included both

 patients receiving Effexor XR and patients receiving Effexor. Only study 208 could have

 allowed Wyeth to compare the incidence of nausea between the Effexor and Effexor XR groups.

        67.     But study 208 did not show a “statistically significant improvement” over

 Effexor. In fact, according to a published article describing the study, the incidence of nausea

 was exactly the same in the Effexor XR and the Effexor groups: 45% of Effexor XR patients

 experience nausea, as compared to 45% of Effexor patients. See Lynn M. Cunningham et al.,

 Once-Daily Venlafaxine Extended Release (XR) and Venlafaxine Immediate Release (IR) in

 Outpatients with Major Depression, 9(3) ANNALS OF CLINICAL PSYCHIATRY 157 (1997)




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 (reporting results of the venlafaxine XR 208 study group). Wyeth never disclosed this article,

 (published years before the method of use patents issued) or its conclusions about rates of nausea

 to the PTO in any of its patent applications.

        68.     Study 208 also suffered from serious data corruption. The principal investigator

 of one of the study sites, Bruce Diamond Ph.D., and one of his subinvestigators, Richard

 Borison, M.D., Ph.D., were indicted for diversion of research funds on February 19, 1997,

 almost a full year after Wyeth claimed clinical data showed a significant reduction in the

 incidence of nausea with Effexor XR based in part of the results of study 208. Upon learning of

 these indictments, the FDA noted that the data from study 208 was “of uncertain reliability” and

 asked Wyeth to reanalyze the data from study 208, excluding the data from the corrupted site.

 Wyeth provided a reanalyzed data to the FDA. Wyeth never informed the PTO about the

 corrupted data. Wyeth never provided reanalyzed data – or any data from study 208 – to the

 PTO.

        69.     In September 2004, Wyeth submitted a further revised version of the final clinical

 report for the 208 Study. Although characterized as “minor corrections”, the revisions included

 two revised analyses of the data on nausea. These revised analyses were never submitted to the

 PTO.

                        (2)     Pooled Study Data Did Not Show a Reduction in Nausea or
                                Emesis

        70.     The Wyeth applicants told the PTO that each of the three studies independently

 showed a statistically significant improvement in the incidence of nausea and emesis. Wyeth

 later claimed, in litigation with the generics, that it had not intended to claim the studies

 independently showed these results, but that “pooled” data showed the professed reduction in




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 nausea and emesis. But even if the data from all three studies were combined, or “pooled,” it

 does not show a statistically significant reduction in the incidence of nausea or emesis.

        71.     First, because two of the studies did not include an Effexor treatment group, at

 best the data from the Effexor XR treatment groups in studies 208, 209, and 367 could be pooled

 and compared only to the conventional Effexor treatment group in study 208. This type of

 comparison is scientifically incorrect, and cannot support a claim that one drug has fewer

 instances of side effects than another drug. The combination or “pooling” of patient data from

 studies 208, 209, and 367 would be statistically biased, and thus an improper basis for reaching a

 conclusion that there is a statistically significant improvement in nausea by patients taking

 Effexor XR as compared to patients taking instant release Effexor

        72.     Second, even if this incorrect pooling is done, it does not show a statistically

 significant difference in nausea and emesis.

        73.     At the time in 1996, when the Wyeth applicants submitted the original ‘006

 application, Wyeth had not “pooled” the data from the 208, 209, and 367 studies. A decade later,

 during patent infringement litigation with the generics, Wyeth tried to cover its tracks by having

 30(b)(6) deposition witnesses (Dr. Mangano and Dr. Alaburda) present new, never-before seen,

 elaborate calculations and permutations of the original clinical study data that purportedly

 showed a diminished incidence of nausea and emesis. These calculations were done ten years

 after the clinical studies were completed and nine years after the Wyeth applicants told the PTO

 that extended release venlafaxine reduced the incidence of nausea.

        74.     Drs. Mangano and Alaburda testified that, according to yet another Wyeth

 employee, Wilfredo Ortega-Leone, the Wyeth applicants’ claim that Effexor XR reduced the

 incidence of nausea was based on pooling the nausea data for the Effexor XR treatment groups in




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 studies 208, 209, and 267 and comparing that data to nausea data for conventional Effexor

 treatment groups in entirely different (undisclosed) studies. Comparing different treatment

 groups from entirely different studies is wholly inappropriate, statistically biased, and is not a

 legitimate basis for claiming that one drug has fewer side effects than another drug. More

 importantly, Wyeth never disclosed its statistical slight-of-hand to the PTO.

        75.     In fact, the only reason that pooled Effexor XR data might possibly have shown a

 reduction in nausea (as compared to unrelated study data for conventional Effexor) is because it

 included the results of study 367. Study 367 reported markedly fewer instances of nausea in the

 Effexor XR treatment group than were reported by the Effexor XR treatment groups in studies

 208 and 209. Study 367 was conducted in Europe. Studies 208 and 209 were conducted in the

 United States. Using the same extended release formulation, the European population in study

 367 reported a 17% incidence of nausea, while the U.S. population in study 209 reported a 36%

 incidence of nausea.

        76.     The Wyeth applicants knew, and it was well known at the time, that the European

 population has a significantly greater tolerance for and/or underreports side effects such as

 nausea and vomiting than the U.S. population. By including the European XR data, it would

 look like Effexor XR reduced the incidence of nausea, when the real cause of the ostensible

 reduction in nausea was a known population difference. The Wyeth applicants did not disclose

 to the PTO that the claimed reduction in nausea and emesis was a result of studying populations

 that are less likely to experience and/or report side effects.

        77.     Further, as the FDA confirmed when analyzing Effexor XR’s efficacy, study 367

 was a complete and utter failure: “study 367 provided no persuasive evidence of antidepressant




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 efficacy for venlafaxine ER.” The Wyeth applicants never disclosed to the PTO that study 367

 failed to show that Effexor XR was effective.

                       (3)     The FDA Refused to Pool Side Effect Data From the 208, 209,
                               and 367 Studies

        78.     In applying for FDA approval of Effexor XR, Wyeth argued that the FDA should

 evaluate the incidence of adverse events, including nausea, by pooling the data from studies 208,

 209, and 367. The FDA disagreed.

        79.     On August 13, 1997, the FDA noted that “the incidence of many adverse events in

 the European study seemed to be substantially lower than in the two domestic studies” and

 determined that study 367 could not be included in the pooled data used to assess the adverse

 events associated with Effexor XR:

                The incidence of many important adverse events appeared to be
                lower in the European study (367) compared to both U.S. studies
                (208 and 209). Primarily for this reason, study 367 was not
                considered poolable with studies 208 and 209 for purposes of
                delineating the common adverse event profile of Effexor XR.

        80.     The FDA noted that including study 367’s data in the pooled adverse event data

 would result in a marked reduction in the number of adverse events described on the drug’s

 label. If data from studies 208, 209, and 367 were pooled, the Effexor XR label would have

 listed only eight common drug-related adverse events. In contrast, when only the data from

 studies 208 and 209 were pooled, the Effexor XR label would have listed an additional four

 common drug-related adverse events. The FDA stated that “Effexor XR is placed in a more

 favorable light if [Wyeth’s proposed] pool is used,” and therefore refused to allow the adverse

 event labeling to be based on Wyeth’s proposed pooling.

        81.     Further, the FDA ultimately permitted Wyeth to pool data from the 208 and 209

 studies, but not for the purpose of comparing the incidence of side effects between extended




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 release venlafaxine and instant release venlafaxine. The FDA noted that “the pool of the two

 domestic studies [studies 208 and 209] allows for a more conservative presentation of adverse

 event data in labeling and since Effexor XR will be marketing in the U.S., the pool of the two

 U.S. studies may be more relevant.” The FDA’s refusal to pool data from all three studies

 occurred only a year after Wyeth filed the original ‘006 application, well before Wyeth filed its

 subsequent patent applications, and almost 4 years before the first method of use patent issued.

         82.     Wyeth knew that including the results of European study 367 skewed the

 incidence of adverse events (including nausea) because the FDA told them so at least four years

 before the ‘171 patent issued, a patent whose claims were premised on Effexor XR’s reported

 ability to reduce the incidence of nausea experienced by patients taking instant release Effexor.

 Yet the Wyeth applicants never informed the PTO that the FDA refused to include the data from

 study 367 when analyzing the incidence of adverse events associated with Effexor XR – that is,

 that the FDA refused to assess the incidence of side effects by pooling the 208, 209, and 367

 data.

         83.     The FDA-approved package insert for Effexor XR, does not contain any

 representation that Effexor XR showed a statistically significant improvement in nausea over

 Effexor, even though the package insert compares Effexor XR and Effexor as to the potential for

 other adverse reactions in the course of their administration.

                 c.     Wyeth Intended for the PTO to Rely on Its Material
                        Misrepresentations

         84.     The Wyeth applicants intended to deceive the PTO with their misrepresentations

 about nausea.

         85.     The Wyeth applicants repeatedly made misrepresentations about the incidence of

 nausea associated with Effexor XR during the prosecution of the ‘137 application, the ‘328



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 application, and each of the method of use patents. The Wyeth applicants affirmatively, and

 repeatedly, misrepresented that they possessed three clinical studies that showed Effexor XR

 significantly reduced the incidence of nausea and emesis associated with Effexor. The Wyeth

 applicants further affirmatively misrepresented that extended release venlafaxine greatly reduced

 the probability of developing nausea. Specifically, the Wyeth applicants knowingly included the

 following sentences in the patent specifications submitted to the PTO:

                In clinical trials of venlafaxine hydrochloride ER, the probability
                of developing nausea in the course of the trials was greatly reduced
                after the first week. Venlafaxine ER showed a statistically
                significant improvement over conventional venlafaxine
                hydrochloride tablets in two eight-week and one 12 week clinical
                studies.
        86.     The Wyeth applicants knew these representations were false. The Wyeth

 applicants knew the only study directly comparing Effexor XR and Effexor (study 208) did not

 show the claimed statistically significant improvement. The Wyeth applicants knew Wyeth was

 not in possession of three clinical studies that showed the claimed statistically significant

 improvement in nausea. The Wyeth applicants knew that two out of the three referenced studies

 did not even compare Effexor XR to Effexor. The Wyeth applicants knew that any claimed

 reduction in nausea and emesis was a result of conducting study 367 among a population that

 notoriously reports fewer side effects, such as nausea and emesis. Wyeth knew that the claimed

 reduction in nausea and emesis could only be supported, if at all, by inappropriately comparing

 different treatment groups across different studies. And, the Wyeth applicants knew the FDA

 had refused to pool the 208, 209, and 367 study data when analyzing the incidences of side

 effects associated with extended release venlafaxine.

        87.     The Wyeth applicants knew the PTO would read the patent specifications

 submitted with their various patent applications and thus receive their misrepresentations about




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 Effexor XR’s effectiveness in treating nausea and about the results of the three referenced

 clinical studies.

         88.     Each individual associated with the filing and prosecution of a patent application

 has a duty to disclose all information known to that individual to be material to patentability. 37

 C.F.R. 1.56. Information is material if it establishes unpatentability, whether by itself or in

 combination with other information, or if it refutes or is inconsistent with a position taken by an

 applicant in arguing for patentability. The Wyeth applicants were aware of their individual

 obligations to disclose material information, and signed certifications acknowledging this duty.

         89.     The Wyeth applicants knew that their misrepresentations about nausea were

 material. No nausea method of use claims could have been patented in light of the truth:

 extended release venlafaxine did not meaningfully reduce the incidence of nausea, Wyeth did not

 have clinical data from three studies that showed a reduction in nausea, and pooled data from

 three studies did not show a reduction in nausea.

         90.     The Wyeth applicants also failed to inform the examiner about the Cunningham

 article (reporting results from study 208) and the FDA’s refusal to pool the data. Both were

 material: a reasonable examiner would want to know about contradicting published materials and

 another agency’s determination about pooling.

         91.     The Wyeth applicants knew there was a substantial likelihood the PTO would rely

 on their misrepresentations about nausea in evaluating their numerous nausea method of use

 claims because the Wyeth applicants did not provide any other evidence that extended release

 venlafaxine reduced nausea.

         92.     The PTO did, in fact, rely on the Wyeth applicants’ misrepresentations. In the

 absence of any other basis for substantiating Wyeth’s nausea claim, the PTO relied on the




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 singular, but oft repeated, statement that clinical studies showed Effexor XR reduced the

 incidence of nausea and emesis as compared to Effexor in approving twenty claims that began by

 reciting a method of use that reduces nausea and emesis:

                  A method for providing a therapeutic blood plasma concentration
                  of venlafaxine over a twenty four hour period with diminished
                  incidence of nausea and emesis which comprises administering
                  orally to a patient in need thereof ….

        93.       The nausea fraud directly affects claims 20, 22, and 23 of the ‘171 patent; claims

 1, 3, and 4 of the ‘958 patent; and all of the claims of the ‘120 patent. Because Wyeth defrauded

 the PTO by claiming a reduction in nausea, Wyeth is not entitled to immunity for its petitioning

 activities in seeking the ‘171, ‘958, ‘120 patents.

        3.        The Unexpected Discovery Invalidity and Fraud: Wyeth Fraudulently
                  Claimed It was the First to “Unexpectedly” Discover Extended Release
                  Venlafaxine

        94.       An applicant can obtain a patent only if he is the first to invent the subject matter

 described in the patent application. If earlier publications or patents disclose the invention, or it

 can be established that someone else invented the subject matter, the invention is not patentable.

 See 35 U.S.C. § 102. Prior invention of the subject matter by someone else may be demonstrated

 by:

                Printed publications that describe the invention, either in the U.S. or internationally,
                 before the patent applicant invented the invention (35 U.S.C. § 102 (a));
                A printed publication that describes the invention, published more than one year
                 before the patent applicant filed a patent application for it (35 U.S.C. § 102 (b));
                A U.S. patent application filed by another inventor describing the invention before
                 the patent applicant invented the invention (35 U.S.C. § 102(e)); and
                Evidence of earlier invention by another, including non-public disclosures (35
                 U.S.C. § 102 (f); OddzOn Products, Inc. v. Just Toys, Inc., 122 F.3d 1396, 1403
                 (Fed. Cir. 1997)).
        95.       Throughout the prosecution of the method of use patents, the Wyeth applicants

 fraudulently misrepresented Wyeth’s “unexpected” discovery of an extended release venlafaxine


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 hydrochloride capsule to the PTO. Wyeth represented in all of its applications for the method of

 use patents that it was “completely unexpected that an extended release formulation containing

 venlafaxine could be obtained.” The Wyeth applicants first made this representation in the

 provisional ‘006 application, filed on March 25, 1996. All of the method of use patents include

 this language, the last of which issued on July 16, 2002 (the ‘958 patent).

        96.      But an extended release version of venlafaxine was not at all unexpected to

 Wyeth. The Wyeth applicants were aware of extended release versions of venlafaxine before

 filing the ‘006 application. Wyeth’s own Upton patent disclosed extended release venlafaxine.

 Wyeth also knew that Alza Corporation (“Alza”) had filed an application to patent a version of

 extended release venlafaxine before Wyeth filed the ‘006 application.

        97.      The Wyeth applicants had multiple opportunities to amend the specifications in its

 various applications to no longer assert that extended release venlafaxine hydrochloride was

 surprising or unexpected and failed to do so. Wyeth knew that by making such an amendment, it

 would no longer be able to claim priority back to the date of the ‘006 application. Without the

 ‘006 application’s priority date, Wyeth would not have been able to patent any version of

 Effexor XR.

                 a.     Wyeth’s Upton Patent Disclosed Extended Release Venlafaxine

        98.      Wyeth’s own Upton patent disclosed extended release venlafaxine (see infra, ¶¶

 123-127). Wyeth applied for the Upton patent on January 30, 1995, more than a year before

 Wyeth claimed extended release venlafaxine was surprising in the ‘006 application. The Upton

 patent issued to Wyeth on April 9, 1996, one month after Wyeth filed the ‘006 provisional

 application and years before the method of use patents issued (August 2001 – July 2002). This

 disclosure makes an extended release formulation of venlafaxine not at all surprising, especially

 not to Wyeth.


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          99.    The Upton patent qualifies as prior art under 35 U.S.C. §102(e) and 35 U.S.C.

 §102(f).

                 b.     Alza’s ‘589 PCT Application Disclosed Extended Release Venlafaxine

          100.   In 1992, Wyeth entered into an agreement with Alza to develop an extended

 release formulation of venlafaxine hydrochloride using Alza’s proprietary drug delivery systems.

 Alza knew Wyeth was simultaneously developing an extended release version of venlafaxine in

 house.

          101.   The agreement granted Alza ownership rights in any information generated or

 acquired during the collaboration and the patents result from the collaboration. Alza also

 retained the right to use, disclose, and license information from the collaboration to third parties.

          102.   The collaboration agreement required Alza and Wyeth to exchange information

 about their respective efforts to develop extended release venlafaxine. The parties’ Scientific

 Steering Committee, comprised of Alza and Wyeth employees, held one or more meetings that

 discussed the progress of the collaboration and other confidential information about the project,

 including the status of patent application filings and patent prosecution.

          103.   On May 27, 1993, Alza filed patent application U.S. Serial No. 08/068,480,

 listing inventors Edgren, et al. (the Edgren application). The Edgren application disclosed

 venlafaxine hydrochloride. The status of the prosecution of the Edgren application was

 discussed at multiple Scientific Steering Committee meetings between Wyeth and Alza, pursuant

 to the collaboration agreement. The Edgren application eventually matured into U.S. Patent No.

 6, 440,457 on August 27, 2002 (the Edgren Patent).

          104.   On December 8, 1994, the World Intellectual Property Organization in Geneva,

 Switzerland published WO 94/27589, assigned to Alza (the ‘589 PCT application). The ‘589

 PCT application claims priority to the Edgren application. The ‘589 PCT application discloses


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 once-a-day venlafaxine extended release formulations, methods for the administration of

 venlafaxine extended release formulations, and the hours required for in vitro dissolution.

        105.    Alza sought to develop formulations that provided for a controlled rate of drug

 release over an extended period of time. As Alza explained in the ‘589 PCT application,

 conventional instant release formulations result in “large peaks and valleys … in the drug blood

 levels.” The applicants stated that there was a “need for a controlled-release dosage form that

 can administer the drug at a controlled rate over an extended time to provide constant therapy

 and thereby eliminate the need for multiple dosing.” The Alza formulations sought to “provide a

 drug delivery controlled release system that can deliver a drug for maintaining constant drug

 levels in the blood, thereby functioning as a controlled release system.” Alza further sought “to

 provide a once a day controlled release dosage form to deliver [venlafaxine hydrochloride] orally

 to a patient in need of therapy[,]” and “to provide a method for administering [venlafaxine

 hydrochloride] in a therapeutic range while simultaneously avoiding a toxic range[.]”

        106.    The ‘589 PCT application disclosed venlafaxine hydrochloride specifically as the

 antidepressant pharmaceutical ingredient. The formulations were to be administered once-a-day

 in a single dose over a twenty-four hour period. The ‘589 PCT application indicates that the

 dosage form successfully maintained constant drug levels in the blood by virtue of its extended

 release properties.

        107.    While the ‘589 PCT application and Edgren patent do not report peak blood

 plasma levels, minimization of the troughs and peaks of blood plasma level are inherent in the

 extended release formulations disclosed in the ‘589 PCT application and the Edgren patent. One

 can reasonably infer that the Alza Formulation for controlled release venlafaxine hydrochloride




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 formulations eliminated peaks and troughs of drug concentration in a patient’s blood plasma

 attending the therapeutic metabolism of plural daily doses of venlafaxine hydrochloride.

           108.   Both the Edgren patent and the ‘589 PCT application qualify as prior art to the

 method of use patents. The earliest date of invention for Wyeth’s extended release formulations

 is March 25, 1996, the filing date of the ‘006 provisional application.

           109.   The ‘589 PCT application was published on December 8, 1994, over a year before

 Wyeth filed the ‘006 application. The ‘589 PCT application qualifies as prior art against the

 method of use patents as a printed publication published in a foreign country before Wyeth

 invented venlafaxine hydrochloride extended release. 35 U.S.C. § 102(a). The ‘589 PCT

 application further qualifies as prior art against the method of use patents as printed publications

 published more than one year before Wyeth filed the ‘006 provisional application. 35 U.S.C. §

 102(b).

           110.   The Edgren application was filed with the PTO on May 27, 1993, roughly three

 years before Wyeth invented extended release venlafaxine hydrochloride (as claimed in the ‘006

 provisional application). The Edgren inventors disclosed an extended release venlafaxine

 hydrochloride formulation that maintained a constant level of venlafaxine in a patient’s plasma

 over a twenty-four hour period, which can reduce toxic effects. Thus, the Wyeth inventors are

 not the first to invent the broadly recited method of reducing toxic effects (such as nausea and

 emesis) or methods of eliminating the peaks and troughs (i.e., maintaining a constant level) of

 drug in a patient’s plasma over a twenty-four hour period. 35 U.S.C. § 102(f).

           111.   The Edgren patent qualifies as patent defeating prior art against the method of use

 patents as a patent application by another filed in the U.S. before Wyeth invented its controlled

 release formulation for venlafaxine hydrochloride. 35 U.S.C. § 102(e).




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                c.      Wyeth Intentionally Deceived the PTO by Fraudulently Claiming it
                        was the First to Discover, “Unexpectedly,” Extended Release
                        Venlafaxine

         112.   The Wyeth applicants withheld highly material information from the PTO with

 the intent to deceive the PTO. The Wyeth applicants had a duty to present all information that

 was known to be material to the patentability of the claims to the examiner. Information that is

 non-public, but known to the applicant, can be material to patentability. The Wyeth applicants

 breached their duty of candor to the PTO by failing to properly disclose Wyeth’s collaboration

 agreement with Alza, the ‘589 PCT application, and the Edgren application.

         113.   Wyeth knew about the Edgren application and the ‘589 PCT application –

  prior to applying for and prosecuting the method of use patents – from its participation in the

 Scientific Steering Committee with Alza under the terms of their collaboration agreement.

         114.   The Wyeth applicants were aware that the ‘589 PCT application discloses

 “controlled release dosage forms” of venlafaxine hydrochloride. The Wyeth applicants were

 similarly aware the ‘589 PCT application claimed priority back to May 27, 1993, well before

 Wyeth claimed to have invented its extended release venlafaxine. Wyeth and Wyeth Attorney

 Arthur G. Seifert disclosed the existence of the ‘589 PCT Application to the PTO on an

 Informational Disclosure Statement (IDS) sent to the PTO on August 13, 1998 during the

 prosecution of the ‘328 application. (Wyeth did not disclose the ‘589 PCT Application during

 the prosecution of the earlier ‘137 application.)

         115.   Despite their knowledge of the disclosures in the ‘589 PCT application, the

 Wyeth applicants each nonetheless continued to misrepresent to the PTO that “[i]t was

 completely unexpected that an extended release formulation containing venlafaxine

 hydrochloride could be obtained.”




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        116.    The collaboration agreement and the resulting ‘589 PCT application were material

 to patentability because they presented a prima facie case of invalidity as a prior invention of

 another. Wyeth inventors Sherman, Clark, Lamar and White were not the first to invent methods

 of (i) eliminating peaks and troughs of venlafaxine in a patient’s blood plasma and (ii) reducing

 nausea and emesis, via once daily dosing of venlafaxine: Alza and its scientists, with the

 knowledge and collaboration of Wyeth, had developed technology and filed and prosecuted a

 patent application directed to those methods at least three years before Wyeth made its

 “unexpected” discovery. The Wyeth inventors derived at least part of their invention from the

 collaboration with Alza.

        117.    The ‘589 PCT application is separately material because, contrary to Wyeth’s

 claims to discovery, it was not unexpected that one could make a controlled release venlafaxine

 product that eliminated the peaks and troughs of the drug in blood plasma or reduce the

 incidence of nausea.

        118.    That the Wyeth applicants intended to deceive the PTO may be inferred from

 their knowledge that (1) Alza was developing an extended release version of venlafaxine, (2)

 Alza disclosed to Wyeth that it had filed the Edgren application and reported to Wyeth on the

 status of the Edgren application, (3) Wyeth was aware of the ‘589 PCT application (as evidenced

 by its late submission of the ‘589 PCT application to the PTO), and (4) Wyeth knew the ‘589

 PCT application disclosed formulations of extended release venlafaxine that minimized the

 troughs and peaks of the amount of venlafaxine in patients’ blood serum levels.

        119.    The Wyeth applicants’ intent to deceive may also be inferred from Wyeth’s

 financial motivation. Wyeth was aware of the impact that an Alza patent would have on

 Wyeth’s exclusivity to sell Effexor XR. Wyeth knew that the collaborative agreement provided




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 that Alza would own the rights to any patent that resulted from their collaboration. Alza was free

 to sell use or license the rights to the technology to a third party. Even a patent that named both

 Wyeth and Alza inventors would be at least co-owned, if not completely owned, by Alza. Wyeth

 would no longer have a monopoly over extended release venlafaxine.

         120.    The level of intent in withholding the full scope of the Alza formulations while

 repeatedly arguing through six patent applications that the Wyeth discovery was unexpected

 shows a high level of intent to deceive the PTO.

         121.    Wyeth’s unexpected discovery fraud directly affects claims 20-25 of the ‘171

 patent and all of the claims of the ‘958 and ‘120 patents. And in the stark light of later patent

 infringement litigation, all three patents would be rendered entirely invalid and unenforceable as

 a result of the prior rejection fraud.

         4.      The Prior Rejection Invalidity and Fraud: Wyeth Failed to Disclose a
                 Previous Examiner’s Rejection of all Method of Use Claims in Light of
                 Wyeth’s Own Upton Patent.

                 a.      Wyeth Failed to Disclose its Own Upton Patent to the Original Patent
                         Examiner

         122.    On January 30, 1995, more than a year before the Wyeth applicants filed the ‘006

 application, the Wyeth applicants filed patent application no. 08/380,093, by Upton et al. (the

 Upton application). Because Wyeth defrauded the PTO by claiming it was the first to

 “unexpectedly” discover extended release venlafaxine, Wyeth is not entitled to immunity for its

 petitioning activities in seeking the ‘171, ‘958, and ‘120 patents. The Upton application sought a

 patent for a method of using venlafaxine to treat hypothalamic amenorrhea (menopause) in non-

 depressed women. It did not seek approval of any formulations of venlafaxine, and it is not

 apparent from the face of the specification itself that it would reference any particular

 formulations of venlafaxine. But included in the fine print of the proposed patent specification




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 was a single reference to a “sustained oral administration form or time-release form [of

 venlafaxine], which may be used to spread the dosage over time, such as for once-a-day

 applications.”

        123.      On March 4, 1996, the PTO mailed Wyeth a Notice of Issue, informing Wyeth

 that the Upton application would issue as a patent. Wyeth had drafted the Upton application, and

 the Wyeth applicants were fully aware the Upton patent disclosed once a day venlafaxine

 formulations that “spread the dosage over time.” Wyeth rushed to file a provisional application

 that covered nausea and “troughs and peaks” claims (discussed below) to avoid the Upton Patent

 standing as prior art to future extended release venlafaxine claims. On March 26, 1996, a mere

 22 days after getting notice the Upton patent would issue, the Wyeth applicants filed the ‘006

 application.

        124.      On April 9, 1996, less than one month after the ‘006 provisional application was

 filed, the Upton application issued as U.S. Patent No. 5,506,270 (the Upton patent). The Upton

 patent was assigned to Wyeth. The Upton patent contained the same reference to sustained and

 time release forms of venlafaxine as the proposed specification at column 5, lines 23-27:

                  It is understood that … this invention is intended to cover any
                  means of administration to a patient of an active amount of the
                  compounds listed above in the treatment of hypothalamic
                  amenorrhea. Such administrations may also be provided in a bolus
                  form, intermittent-release form, sustained oral administration form
                  or time-release form, which may be used to spread the dosage over
                  time, such as for once-a-day applications.

        125.      This disclosure of extended release venlafaxine formulations is prior art relevant

 to claims made in the applications for the method of use patents. This prior art renders other

 method of use claims related to spreading the dose over time (such as once-a-day dosing) and

 obvious consequences of spreading the dose over time (such as minimizing the “troughs and




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 peaks” of venlafaxine in the blood and reducing nausea thought to be associated with increased

 levels of venlafaxine in the blood) unpatentable.

        126.    The Wyeth applicants knew the Upton patent disclosed extended release

 venlafaxine. The Wyeth applicants knew this information was material. The Wyeth applicants

 also knew that a reasonable examiner would want to know (i) that Wyeth had been prosecuting

 (for over a year) a patent application for a method of use for venlafaxine whose specification

 disclosed extended release venlafaxine, (ii) that a prior examiner had rejected the claims, and (iii)

 that Wyeth had agreed with that objection.

                b.      Examiner Hulina Rejected Wyeth’s Independent Method of Use
                        Claims for an Extended Release Venlafaxine in Light of the Upton
                        Patent

        127.    On March 20, 1997, almost a year after Wyeth’s Upton patent issued, the Wyeth

 applicants filed the ‘137 application, claiming priority to the ‘006 application. The ‘137

 application was assigned to Examiner Amy Hulina.

        128.    Claim 1 recited an extended release formulation of venlafaxine hydrochloride

 with spheroids:

                1. An encapsulated, extended release formulation of venlafaxine
                hydrochloride comprising a hard gelatin capsule containing a
                therapeutically effective amount of spheroids comprised of
                venlafaxine hydrochloride, microcrystalline cellulose and
                hydroxypropylmethylcellulose coated with ethyl cellulose and
                hydroxypropylmethylcellulose.

        129.    Claim 9 recited a method of use for reducing incidences of nausea and vomiting

 associated with venlafaxine:

                9. A method for providing a therapeutic blood plasma
                concentration of venlafaxine over a twenty four hour period with
                diminished incidences of nausea and emesis which comprises
                administering orally to a patient in need thereof, an encapsulated,
                extended release formulation that provides a peak blood plasma
                level of venlafaxine in from about four to about eight hours, said


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                formulation containing venlafaxine hydrochloride as the active
                ingredient.

        130.    Claim 10 recited a method of use for reducing the disparities in concentration of

 venlafaxine in a patient’s blood serum:

                10. A method for eliminating the troughs and peaks of drug
                concentration in a patient’s blood plasma attending the therapeutic
                metabolism of plural daily doses of which comprises administering
                orally to a patient in need thereof, an encapsulated, extended
                release formulation that provides a peak blood plasma level of
                venlafaxine in from about four to about eight hours, said
                formulation containing venlafaxine hydrochloride as the active
                ingredient.
        131.    On July 10, 1997, the Wyeth applicants submitted an IDS listing five U.S.

 Patents, no foreign patents, and no other publications. Wyeth did not list the original compound

 patent (Husbands) on the IDS, but referenced it in the specification. Examiner Hulina

 considered all 5 references reported by Wyeth. The Wyeth applicants did not list or otherwise

 disclose the Upton patent.

        132.    Examiner Hulina discovered Wyeth’s Upton patent in her prior art search.

        133.    During a telephone interview on July 30, 1997, Examiner Hulina informed Wyeth

 applicant Attorney Robert Boswell that independent claims 9 and 10, the nausea and “troughs

 and peaks” method of use claims, were not patentable as independent claims in light of the

 disclosure of extended release formulations of venlafaxine in the Upton patent. She further

 informed Attorney Boswell that these method of use claims would only be patenable if Wyeth

 amended them to depend on the particular formulation of extended release venlafaxine in

 claim 1.

        134.    The Wyeth applicants had hoped to patent independent method of use claims,

 claims unassociated with a particular formulation of extended release venlafaxine, in order to

 maximize a market exclusivity for extended release venlafaxine hydrochloride capsules.



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 Independent method of use claims could be asserted against any generic manufacturer that

 attempted to market any formulation of extended release venlafaxine. But Wyeth could only

 assert dependent method of use claims against a generic manufacturer that happened to be using

 the exact same formulation of extended release venlafaxine that the method of use claims

 depended on. Independent method of use claims would provide further impediments to generic

 manufacturers and could translate into millions more dollars in Wyeth’s pockets.

           135.   The Wyeth applicants did not challenge Examiner Hulina’s conclusion that claims

 9 and 10 were unpatentable as independent claims. Rather, Wyeth applicant Attorney Boswell,

 agreed with the Examiner’s conclusion by authorizing the examiner to amend the method of use

 claims in order to avoid rejection. An examiner’s amendment changed Claims 9 and 10 from

 independent claims to dependent claims, thereby limiting the method of use claims to the

 specific extended release formulation of venlafaxine hydrochloride recited in claim 1, and

 acknowledging that stand alone method of use claims were not patentable in light of the Upton

 patent.

           136.   On August 5, 1997, Examiner Hulina issued a notice of allowance for the

 amended, now dependent, method of use claims and the independent formulation claim, noting

 that “[t]he prior art does not teach or suggest the specific extended release claim formulation

 according to claim 1” (emphasis added) Despite the notice of allowance, the Wyeth applicants

 decided to abandon the ‘137 application – presumably in the hopes that a new application might

 draw a different examiner that would be unfamiliar with the Upton patent’s disclosure of

 extended release venlafaxine and would, therefore, allow independent nausea and “troughs and

 peaks” method of use claims.




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                c.     Wyeth Never Discloses that the PTO Rejected its Method of Use
                       Claims in Light of the Upton Patent

                       (1)     Wyeth Did Not Disclose the Previous Examiner’s Rejection in
                               the ‘328 Application

        137.    On November 5, 1997, the Wyeth applicants filed the ‘328 continuation-in-part

 application. Fortunately for Wyeth, the ‘328 application was assigned to a different Examiner in

 a different art unit, James M. Spear in Art Unit 1615.

        138.    Claim 1 recited a formulation claim similar to claim 1 in the ‘137 application, an

 extended release form of venlafaxine hydrochloride with spheroids. Independent method of use

 claims 13 and 14 were identical to proposed method of use claims 9 and 10 of the abandoned

 ‘137 application – claims explicitly rejected by Examiner Hulina in light of the Upton patent’s

 reference to an extended release form of venlafaxine hydrochloride, that “spread the dosage over

 time,” claims the Wyeth applicants had agreed to amend, and claims that Examiner Hulina had

 allowed once amended. The ‘328 application did not contain any other independent method of

 use claims.

        139.    On February 9, 1998, the Wyeth applicants submitted an IDS identifying the same

 five U.S. Patents identified in the IDS for the ‘137 application as well as the Upton and

 Husbands patents. No foreign patent documents or other publications were listed. Examiner

 Spear considered all of the references on the IDS. On August 13, 1998, the Wyeth applicants

 submitted a Supplemental IDS, listing three foreign patent documents (discussed infra at ¶¶ 181-

 197). Examiner Spears also considered the new submissions.

        140.    On October 14, 1998, Examiner Spear allowed the method of use claims (claims

 13 and 14) to issue as independent claims – the very claims that Examiner Hulina had previously

 required Wyeth to amend to be dependent on a particular formulation. The Wyeth applicants

 never informed Examiner Spear that the Upton patent identified the existence of an extended


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 release formulation of venlafaxine hydrochloride that rendered their method of use claims

 unpatentable. The Wyeth applicants never disclosed to Examiner Spear that they had previously

 agreed to amend the very same claims to be dependent claims. And the Wyeth applicants never

 disclosed to Examiner Spear that a previous Examiner had found the exact same claims to be

 unpatentable.

        141.     That the Upton patent references a sustained release, once-a-day formulation of

 venlafaxine is not evident from the title of the patent: “Venlafaxine in the Treatment of

 Hypothalmic Amenorrhea in Non-Depressed Women.” Similarly, the reference to a sustained

 release formulation is contained in a single sentence in the middle of a three page single-spaced

 specification; an examiner would have to review the Upton patent very closely to find the

 reference that the Wyeth applicants were all too well aware of.

        142.     Also on October 14, 1998, Examiner Spear rejected claim 1, for a formulation

 with spheroids, as unpatentable in light of prior art (other than the Upton patent). The Wyeth

 applicants responded to examiner’s rejections by canceling, amending and adding new claims.

 On July 21, 1999, Examiner Spear rejected the new claims, stating that the Wyeth applicants’

 arguments to overcome the prior art were not persuasive. The Wyeth applicants responded by

 filing a petition for an extension of time, but never ultimately responded. On February 16, 2000,

 the Wyeth applicants abandoned the ‘328 Application – including its allowed independent

 method of use claims.

                         (2)   Wyeth Did Not Disclose the Previous Examiner’s Rejection in
                               the ‘629 Application

        143.     On January 20, 2000, a month before abandoning the ‘328 application, the Wyeth

 applicants filed the ‘629 continuation-in-part application. Wyeth’s latest application was again

 assigned to Examiner Spear.



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        144.    The ‘629 application contained a nearly identical specification to the ‘328

 application. Claim 1, again, recited an extended release version of venlafaxine hydrochloride in

 spheroids that was substantially similar to the claim rejected by Examiner Spear during the

 prosecution of the ‘328 application in light of the prior art. Claims 21 and 22, again, recited the

 same independent method of use claims originally presented in (rejected) claims 9 and 10 of the

 ‘137 application and (allowed but abandoned) claims 13 and 14 in the ‘328 application:

                21. A method for providing a therapeutic blood plasma
                concentration of venlafaxine over a twenty four hour period with
                diminished incidences of nausea and emesis which comprises
                administering orally to a patient in need thereof, an encapsulated,
                extended release formulation that provides a peak blood plasma
                level of venlafaxine in from about four to about eight hours, said
                formulation containing venlafaxine hydrochloride as the active
                ingredient.

                22. A method for eliminating the troughs and peaks of drug
                concentration in a patient’s blood plasma attending the therapeutic
                metabolism of plural daily doses of which comprises administering
                orally to a patient in need thereof, an encapsulated, extended
                release formulation that provides a peak blood plasma level of
                venlafaxine in from about four to about eight hours, said
                formulation containing venlafaxine hydrochloride as the active
                ingredient.
 The Wyeth applicants, again, never informed Examiner Spear that the Upton patent identified the

 existence of an extended release formulation of venlafaxine hydrochloride that rendered their

 method of use claims unpatentable. The Wyeth applicants, again, never disclosed that it had

 agreed to amend these claims to be dependent claims in order to avoid a rejection over the prior

 art disclosed by Wyeth’s own Upton patent. The Wyeth applicants, again, never disclosed to

 Examiner Spear that a previous Examiner determined these claims were unpatentable. On

 January 4, 2001, Examiner Spear allowed claims 21 and 22.

        145.    The Wyeth applicants then added additional method of use claims 23-26. Claims

 23 and 24 recite methods of use “with diminished incidence of nausea.” Claims 25 and 26 recite



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 methods of use for “eliminating the troughs and peaks of drug concentration in a patient’s blood

 plasma.” All are substantially similar to the method of use claims rejected by Examiner Hulina.

 Nonetheless, in the absence of Wyeth’s disclosure of her rejection and failing to directing the

 examiner to Upton’s fleeting reference to extended release venlafaxine, Examiner Spear allowed

 these independent method of use claims.

        146.    On August 14, 2001, the ‘629 application issued as the ’171 patent. The ‘171

 patent contains six independent method of use claims: claims 20 through 25. All recite either

 diminished incidences of nausea or eliminating the troughs and peaks in a patient’s blood

 plasma. (Due to renumbering, proposed claims 21 and 22 issued as claims 20 and 21. Proposed

 claims 23 through 26 issued as claims 22 through 25).

                       (3)     Wyeth Did Not Disclose the Previous Examiner’s Rejection in
                               the ‘412 Application

        147.    On June 19, 2001, two months before the ‘171 patent issued, the Wyeth applicants

 filed the divisional ‘412 application to pursue rejected claim 1 of the ‘629 application. The

 application was again assigned to Examiner Spear.

        148.    The specification and claims of the ‘412 application were identical to the ‘629

 application. The Wyeth applicants then canceled claims 2-22 and added new, independent

 method of use claims 23 and 24:

                23. A method for providing a therapeutic blood plasma
                concentration of venlafaxine over a twenty four hour period with
                diminished incidences of nausea and emesis which comprises
                administering orally to a patient in need thereof, an extended
                release formulation that provides a peak blood plasma level of
                venlafaxine in from about four to about eight hours, said
                formulation containing venlafaxine hydrochloride as the active
                ingredient.

                24. A method for eliminating the troughs and peaks of drug
                concentration in a patients blood plasma attending the therapeutic
                metabolism of plural daily doses of which comprises administering


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                orally to a patient in need thereof, an extended release formulation
                that provides a peak blood plasma level of venlafaxine in from
                about four to about eight hours, said formulation containing
                venlafaxine hydrochloride as the active ingredient.

        149.    Claims 23 and 24 are substantially the same the method of use claims originally

 presented in (rejected) claims 9 and 10 of the ‘137 application and allowed claims 20 and 21 of

 the ‘171 patent, differing only by no longer including the word “encapsulated.” The Wyeth

 applicants, again, never informed Examiner Spear that the Upton patent identified the existence

 of an extended release formulation of venlafaxine hydrochloride that rendered their method of

 use claims unpatentable. The Wyeth applicants, again, never disclosed to Examiner Spear that a

 previous Examiner determined method of use claims substantially similar to claims 23 and 24

 were unpatentable. The Wyeth applicants, again, never disclosed that it had agreed to amend

 substantially similar claims in order to avoid a rejection over the prior art disclosed by Wyeth’s

 own Upton patent.

        150.    On January 13, 2002, Examiner Spear rejected claims 23, and 24 as being

 unpatentable over claims 20 and 21 of the ‘171 Patent. The Wyeth applicants contested that

 claims 23 and 24 were obvious in light of the ‘171 patent, but filed a terminal disclaimer

 confirming that it did not, and would not, seek an additional time period of patent protection

 beyond that afforded by the ‘171 patent.

        151.    The Wyeth applicants also added claims 25 through 28, additional independent

 method of use claims. Claims 25 through 28 either recite a method of use “with diminished

 incidence of nausea” or for “eliminating the troughs and peaks of drug concentration in a

 patient’s blood plasma.” All are substantially similar to the method of use claims rejected by

 Examiner Hulina. Nonetheless, in the absence of the appropriate disclosures by Wyeth,

 Examiner Spear allowed claims 23 through 28.



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        152.    On July 16, 2002, the ‘412 application issued as the ‘958 patent. The ‘958 patent

 contains six method of use claims: claims 1-6. All related to either diminished incidences of

 nausea or eliminating the troughs and peaks in a patient’s blood plasma. (Due to renumbering,

 proposed claims 23 and 24 issued as claims 1 and 2. Proposed claims 25 through 28 issued as

 claims 3 through 6.)

                        (4)    Wyeth Did Not Disclose the Previous Examiner’s Rejection in
                               the ‘965 Application

        153.    On September 12, 2001, the Wyeth applicants filed the ‘965 continuation-in-part

 application. The ‘965 application was, again, assigned to Examiner Spear.

        154.    The ‘965 application contained the same specification and claims as the ‘412

 application (and corresponding ‘958 patent). The Wyeth applicants canceled claims 2-22 and

 added new claims 23-34. Claim 23 recited a method of use claim for diminished incidences of

 nausea, and substantially similar to rejected claim 9 of the ‘137 application:

                23.     A method for providing a therapeutic blood plasma
                concentration of venlafaxine over a twenty four hour period with
                diminished incidences of nausea and emesis which comprises
                administering orally to a patient in need thereof, an extended
                release formulation that provides a peak blood plasma level of
                venlafaxine of no more than 150 ng/ml, said formulation
                containing venlafaxine hydrochloride as the active ingredient.

        155.    The Wyeth applicants, again, never disclosed to Examiner Spear that a previous

 Examiner determined a claim substantially similar to claim 23 was unpatentable. The Wyeth

 applicants, again, never disclosed that it had agreed to amend a substantially similar claim in

 order to avoid a rejection over the prior art disclosed by Wyeth’s own Upton patent. And the

 Wyeth applicants did not direct the examiner to Upton’s reference to extended release

 venlafaxine hydrochloride.




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        156.    Examiner Spear allowed claim 23, and objected to claims 24-34. The Wyeth

 applicants later amended claims 24 and 25 to depend from allowed claim 23. Examiner Spear

 allowed the amended claims.

        157.    On June 11, 2002, the ‘965 application issued as the ‘120 patent. Due to

 renumbering, proposed claim 23 issued as claim 1:

                1. A method for providing a therapeutic blood plasma
                concentration of venlafaxine over a twenty four hour period with
                diminished incidences of nausea and emesis which comprises
                administering orally to a patient in need thereof, an extended
                release formulation that provides a peak blood plasma level of
                venlafaxine of no more than 150 ng/ml, said formulation
                containing venlafaxine hydrochloride as the active ingredient.

        158.    All other claims depended from claim 1.

                d.     Wyeth Intentionally Committed Fraud on the PTO by Failing to
                       Disclose Material Information

        159.    The prosecution history of the ‘137 application shows that Examiner Hulina

 judged the independent method of use claims (claims 9 and 10) unpatentable in view of the prior

 art taught by Wyeth’s Upton patent. Claims 9 and 10 became patentable only after Wyeth

 amended the claims to be dependent on a particular formulation of extended release venlafaxine

 at the insistence of Examiner Hulina.

        160.    Throughout the prosecution history of the method of use patents (including the

 ‘328 application, the 412 application, and the ‘629 application), Wyeth failed to both (i) inform

 Examiner Spear that the Upton patent identified the existence of an extended release formulation

 of venlafaxine hydrochloride that rendered their method of use claims unpatentable and (ii)

 disclose material information relating to Examiner Hulina’s determination of unpatentability.

        161.    The Wyeth applicants had a duty to disclose all information material to

 patentability, including information that by itself renders the claims unpatentable. The Wyeth



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 applicants failed to disclose to new Examiner Spear the contrary findings of the earlier examiner

 on the identical claims. The Wyeth applicants failed to disclose the basis of the earlier

 examiner’s contrary findings – that a prior art patent owned by Wyeth itself taught an extended

 release formulation of venlafaxine. The Wyeth applicants failed to disclose to Examiner Spear

 the fact that they had already agreed to narrow the scope of identical claims in order to avoid a

 rejection over Wyeth’s own prior art patent – the Upton patent. The Wyeth applicants failed to

 disclose to Examiner Spear the fact that once they had agreed to amend the claims to overcome

 the prior art reference, that Examiner Hulina found the claims patentable and issued a Notice of

 Allowability.

        162.     The information withheld by the Wyeth applicants was material. This

 information is of the type a reasonable examiner would want to know, as it directly impacts the

 patentability of the claims.

        163.     The Wyeth applicants withheld this material information and thereby breached

 their duty of disclosure to the PTO. They did so in order to avoid prior art rendering independent

 method of use claims unpatentable; that is, the Wyeth applicants sought to prosecute independent

 method of use claims that were substantially similar to the previously rejected independent

 method of use claims.

        164.     The Wyeth applicants withheld this material information with intent to mislead or

 deceive the PTO. Intent to deceive the Patent Office can be inferred by refilling claims that had

 been previously rejected. Wyeth knowingly, repeatedly, presented unpatentable and previously

 rejected claims to the examiner on multiple occasions.

        165.     The Wyeth applicants failed to amend the independent method of use claims in

 accordance with Examiner Hulina’s findings in the subsequent patent applications. The Wyeth




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 applicants had multiple opportunities to amend claims during prosecution of the method of use

 patents, and in fact did amend claims several times. But the Wyeth applicants never made the

 necessary amendments to overcome patent-defeating prior art on identically or substantially

 similar claims.

         166.      The Wyeth applicants had multiple opportunities to correct the record and bring

 the rejection of the claims based on the Upton Patent to the attention of Examiner Spear, yet

 failed to do so. The Wyeth applicants amended the claims several times in each subsequent

 application; Wyeth amended the specifications of two subsequent applications (the ‘328

 application and the ‘629 application, which issued as the ‘171 patent) and amended the

 inventorship of the ‘629 application. Each filing presented an opportunity for Wyeth to correct

 the record, but it failed to do so.

         167.      Intent to deceive the Patent Office can be inferred by the numerous opportunities

 that Wyeth had to amend claims and specifications and/or bring the prior decision of

 unpatentability to Examiner Spears’ attention. Based upon a reasonable inference due to the

 high materiality of failure to disclose all the pertinent information during prosecution, Wyeth

 intentionally failed to disclose all pertinent information that was known to them during

 prosecution of the ‘171, ‘120, and ‘958 patents with an intent to deceive the PTO.

         168.      But for this fraud on the PTO, no independent nausea or “troughs and peaks”

 method of use claims would have issued in the method of use patents. Specifically, Wyeth’s

 prior rejection fraud affects claims 20 through 25 of the ‘171 patent and all of the claims of the

 ‘958 and ‘120 patents. Because Wyeth defrauded the PTO by failing to disclose (i) the previous

 examiners rejection, Wyeth is not entitled to immunity for its petitioning activities in seeking the

 ‘171, ‘958, and ‘120 patents. In the stark light of later patent infringement litigation, all three




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 patents would be rendered entirely invalid and unenforceable as a result of the prior rejection

 fraud.

 D.       Wyeth Used Invalid and/or Unenforceable Patents Obtained by Fraud to Hamper
          Competition in the Market for Extended Release Venlafaxine Hydrochloride
          Capsules

          169.   Wyeth’s efforts to monopolize and restrain competition in the market for

 extended release venlafaxine hydrochloride capsules have substantially affected interstate and

 foreign commerce.

          170.   At all material times, Wyeth manufactured, promoted, distributed, and sold

 substantial amounts of Effexor XR in a continuous and uninterrupted flow of commerce across

 state and national lines and throughout the United States.

          171.   At all material times, Wyeth transmitted funds as well as contracts, invoices and

 other forms of business communications and transactions in a continuous and uninterrupted flow

 of commerce across state and national lines in connection with the sale of Effexor XR.

          172.   In furtherance of their efforts to monopolize and restrain competition in the

 market for extended release venlafaxine hydrochloride capsules, Wyeth employed the United

 States mails and interstate and international telephone lines, as well as means of interstate and

 international travel. Wyeth’s activities were within the flow of and have substantially affected

 interstate commerce.

 E.       Wyeth Engaged in Sham Litigation against Fourteen Generic Manufacturers

          173.   Wyeth wrongfully listed all three of the fraudulently obtained method of use

 patents in the Orange Book.

          174.   At least 12 generic manufacturers sent Wyeth Paragraph IV certifications

 informing Wyeth they intended to manufacture AB-rated generic equivalents to Effexor XR and

 claiming their product would not infringe Wyeth’s patents. In each and every instance, Wyeth


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 reflexively sued the generic for infringement of the ‘171, ‘958, and the ‘120 patents. Wyeth

 even sued a generic manufacturer (Osmotica) whose product was in a different form all together

 (tablet instead of capsule), was not an AB-rated generic equivalent of Effexor XR, and could not

 possibly have infringed the ‘ 171, ‘958 and ‘120 patents, which covered only “encapsulated”

 extended release formulations of venlafaxine hydrochloride.

        175.    But Wyeth knew that all three of the method of use patents were invalid and/or

 unenforceable. It knew that the clinical evidence did not support its comparative statements

 between Effexor XR and instant release Effexor. It knew that prior art existed for the claims it

 made in its formulation and method of use patents. Wyeth also knew that in the context of patent

 infringement litigation, where sophisticated parties can acquire the true information about the

 circumstances of the acquisition of a patent, it had no reasonable likelihood of succeeding on the

 merits of its fourteen infringement lawsuits.

        176.    Perhaps because it knew the method of use patents were invalid and

 unenforceable, Wyeth settled each and every infringement lawsuits before a court issued a final

 decision as to whether the method of use patents were valid or enforceable.

        1.      Teva

        177.    On December 10, 2002, Teva Pharmaceuticals USA, Inc. (“Teva”) filed an

 ANDA seeking approval of a generic version of Effexor XR. Teva’s ANDA included Paragraph

 IV certifications that Wyeth’s method of use patents were invalid, unenforceable, and would not

 be infringed by its generic extended release venlafaxine capsules.

        178.    As the first ANDA applicant to submit a substantially complete ANDA, Teva was

 entitled to be the only non-authorized generic on the market for 6 months. Typically, once a

 drug goes generic, the branded manufacturer sells both the branded version and an “authorized”

 generic version, usually selling the same exact pills in different bottles. The branded company’s


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 competing authorized generic can drastically reduce the first filed generic’s profits during its six

 month exclusivity window.

        179.    On March 24, 2003, Wyeth brought suit against Teva Pharmaceuticals USA, Inc.

 (“Teva”) in the District of New Jersey for infringement of the ‘171 patent, the ‘120 patent and

 the ‘958 patent. Wyeth charged Teva with infringement of claims 20-25 of the ‘171 patent,

 claims 1, 2, 13, and 14 of the ‘120, and claims 1-6 of the ‘958 patent. All are method of use

 claims for either reducing the incidence of nausea or smoothing out the troughs and peaks in the

 blood serum. Wyeth did not assert Teva infringed any of the formulation claims. Wyeth did not

 claim Teva infringed any other patents. The claim terms in dispute were: “extended release

 formulations,” “spheroid,” “with diminished incidence(s) of nausea and emesis,” and

 “encapsulated.”

        180.    Teva answered, denying the allegations and claiming that all the patents were

 invalid and not infringed. The case was closed per an order on January 20, 2006 after the parties

 filed under seal a Joint Settlement and Release Agreement on November 2, 2005.

        181.    As part of the settlement agreement, Wyeth gave Teva an exclusive license to sell

 a generic version of (instant release) Effexor before the original compound patent for venlafaxine

 expired. The Husbands’ patent expired in June 2008; with Wyeth’s permission, Teva obtained

 FDA approval and began selling generic instant release venlafaxine in October 2006 – over a

 year and a half before it otherwise could have.

        182.    Wyeth also agreed to refrain from selling an authorized generic version of (instant

 release) Effexor until the Husband’s patent expired – giving Teva at least a year and a half of

 being the only instant release generic on the market.




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        183.    Wyeth also gave Teva an exclusive license to sell a generic version of (extended

 release) Effexor XR for a fixed period of time. The license from Wyeth did not allow Teva to

 start selling a generic version of Effexor XR for approximately two years after the Husbands

 patent expired in 2008. Teva began selling generic extended release venlafaxine capsules in

 June 2010.

        184.    Wyeth additionally agreed to refrain from selling an authorized generic version of

 (extended release) Effexor XR during the fixed duration of Teva’s license.

        185.    Had Wyeth not fraudulently obtained the ‘171, ‘120, and ‘958 patents, and/or not

 listed those patents in the Orange Book, and/or not brought a sham infringement lawsuit based

 on these patents, Teva would have come to market in June 2008.

        2.      Impax

        186.    On April 5, 2006, Wyeth brought suit against Impax Laboratories, Inc. (“Impax”)

 in the District of Delaware for infringement of the ‘171 patent, the ‘120 patent and the ‘958

 patent. Wyeth charged Impax with infringement of claims 20-25 of the ‘171 patent, claims 1-6 of

 the ‘958 patent, and claims 1, 2, 13, and 14 of the ‘120 patent.

        187.    Impax answered, denying the allegations and claiming that all the patents were

 invalid, not infringed, and unenforceable.

        188.    On May 13, 2008 an order entered at the joint request of the parties to have the

 court defer ruling on pending motions for summary judgment. The parties avoided a ruling on

 the merits.

        189.    The case was closed per a consent judgment on July 15, 2008 after the parties

 filed under seal a Joint Settlement and Release Agreement on June 9, 2008. Under the order, the

 parties purported to stipulate that the patents were valid, enforceable, and infringed upon. Impax




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 agreed not to enter the market until expiration of the ‘171 patent, the ‘120 patent, and the ‘958

 patent.

           190.   As part of the settlement, Wyeth granted Impax a license to market its generic

 version of Effexor XR on June 1, 2011, subject to earlier launch in limited circumstances, but in

 no event earlier than January 1, 2011.

           3.     Anchen

           191.   On April 12, 2006, Wyeth brought suit against Anchen Pharmaceuticals, Inc.

 (“Anchen”) in the Central District of California for infringement of the ‘171 patent, the ‘120

 patent and the ‘958 patent. Wyeth charged Anchen with infringement of undefined claims.

           192.   Anchen answered, denying the allegations, and claiming that all the patents were

 invalid, not infringed, and unenforceable.

           193.   The case was closed per an order on November 3, 2008 after the parties filed

 under seal a Joint Settlement and Release Agreement on September 26, 2008. Under the order,

 the parties purported to stipulate that the patents were valid, enforceable, and infringed. Anchen

 agreed not to enter the market until expiration of the ‘171 patent, the ‘120 patent, and the ‘958

 patent; however, the agreement provides a license to Anchen on undisclosed terms.

           4.     Lupin

           194.   On March 12, 2007, Wyeth brought suit against Lupin Ltd. (“Lupin”) in the

 District of Maryland for infringement of the ‘171 patent, the ‘120 patent and the ‘958 patent.

 Wyeth charged Lupin with infringement of claims 20-25 of the ‘171 patent, claims 1-6 of the

 ‘958 patent, and claims 1 and 2 of the ‘120 patent.

           195.   Lupin answered, denying the allegations and claiming that all the patents were

 invalid and not infringed.




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        196.    The case was closed per an order on April 23, 2009, after the parties filed under

 seal a Joint Settlement and Release Motion on March 6, 2009. Under the order, the parties

 purported to stipulate that the patents were both valid and infringed. Lupin agreed not to enter

 the market until expiration of the ‘171 patent, the ‘120 patent, and the ‘958 patent; however, the

 agreement provides a license to Lupin on undisclosed terms.

        5.      Osmotica

        197.    On April 20, 2007, Wyeth brought suit against Osmotica Pharmaceuticals

 Corporation (“Osmotica”) in the Eastern District of North Carolina for infringement of the ‘171

 patent, the ‘120 patent, and the ‘958 patent. Wyeth charged Osmotica with infringement of the

 “asserted claims” which include claims 1-6 of the ‘958 patent and claim 1 of the ‘120 patent. The

 parties disputed the term “extended release formulations.”

        198.    Osmotica sought to market a tablet form of extended release venlafaxine.

 Osmotica’s NDA sought approval under the hybrid provisions of 505(b)(2) of the FDCA.

 Osmotica’s product, by definition, was not an AB-rated generic equivalent of Effexor XR.

        199.    Osmotica answered, denying the allegations and claiming that all the patents were

 invalid, non-infringed, and unenforceable.

        200.    The case was closed per an order on March 19, 2008 after the parties filed under

 seal a Joint Settlement and Release Agreement on March 17, 2008. Under the order, Osmotica

 agreed not to enter the market until expiration of the ‘171 patent, the ‘120 patent, and the ‘958

 patent; however, the agreement provides a license to Osmotica on undisclosed terms.

        6.      Sandoz

        201.    On June 22, 2007, Wyeth brought suit against Sandoz, Inc. (“Sandoz”) in the

 Eastern District of North Carolina for infringement of the ‘171 patent, the ‘120 patent and the

 ‘958 patent. Wyeth charged Sandoz with direct infringement, active inducement of


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 infringement, and contributory infringement of claims 20-25 of the ‘171 patent, claims 1-6 of the

 ‘958 patent, and claims 1, 2, 13, and 14 of the ‘120 patent.

        202.    Sandoz answered, denying the allegations and claiming that all the patents were

 invalid, not infringed, and unenforceable.

        203.    According to a Status Report filed on February 2, 2011, the parties are currently

 working toward a resolution.

        7.      Mylan

        204.    On July 6, 2007, Wyeth brought suit against Mylan Pharmaceuticals Inc.

 (“Mylan”) in the Northern District of West Virginia for infringement of the ‘171 patent, the ‘120

 patent and the ‘958 patent. Wyeth charged Mylan with direct infringement, active inducement of

 infringement, and contributory infringement of claims 20-25 of the ‘171 patent, claims 1-6 of the

 ‘958 patent, and claims 1, 2, 13, and 14 of the ‘120 patent.

        205.    Mylan answered, denying the allegations and claiming that all the patents were

 invalid and not infringed.

        206.    As part of its summary judgment briefing, Wyeth argued that any particular

 formulation of extended release venlafaxine hydrochloride was not novel – in direct

 contradiction to its representation in the method of use patent specifications that it was

 “completely unexpected that an extended release formulation … could be obtained.”

        207.    On October 14, 2009 an order denied, in part, and granted, in part, Mylan’s

 motions for summary judgment. Judge Keeley denied Mylan’s motions regarding infringement

 and enablement, and granted Wyeth’s motion regarding inventorship. Mylan’s other defenses,

 including its invalidity defenses, remained unresolved.

        208.    The case was closed per a dismissal order on December 21, 2009 after the parties

 filed under seal a Joint Settlement and Release Motion on November 30, 2009. Under the order,


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 Mylan agreed not to enter the market until expiration of the ‘171 patent, the ‘120 patent and the

 ‘958 patent; however, the agreement provides a license to Mylan on undisclosed terms.

          8.     Biovail

          209.   On June 26, 2008, Wyeth brought suit against Biovail Corporation (“Biovail”) in

 the District of Delaware for infringement of the ‘171 patent, the ‘120 patent and the ‘958 patent.

 Wyeth charged Biovail with infringement of undefined claims.

          210.   Biovail answered, denying the allegations, and claiming that all the patents were

 invalid and not infringed.

          211.   The case was closed per an order on March 19, 2010 after the parties filed under

 seal a Joint Motion to Enter Consent Judgment and to Enter Stipulated Order on November 12,

 2009. Under the order, the parties purported to stipulate that the patents were both valid and

 infringed. Biovail agreed not to enter the market until expiration of the ‘171 patent, the ‘120

 patent and the ‘958 patent; however, the agreement provides a license to Biovail on undisclosed

 terms.

          9.     Apotex

          212.   On August 18, 2008, Wyeth brought suit against Apotex Inc. and Apotex Corp.

 (“Apotex”) in the Southern District of Florida for infringement of the ‘171 patent, the ‘120 patent

 and the ‘958 patent. Wyeth charged Apotex with infringement of claims 2-20 of the ‘171 patent,

 claims 1-6 of the ‘958 patent, and claims 1, 2, 13, and 14 of the ‘120 patent.

          213.   Apotex answered, denying the allegations, and claiming that all the patents were

 invalid, not infringed and unenforceable for inequitable conduct.

          214.   The case was closed per an order on September 15, 2010 after the parties filed

 under seal a Joint Settlement and Release Agreement on August 11, 2010. Under the order, the

 parties purported to stipulate that the patents were valid, enforceable, and infringed. Apotex


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 agreed not to enter the market until expiration of the ‘171 patent, the ‘120 patent and the ‘958

 patent; however, the agreement provides a license to Apotex on undisclosed terms.

        10.     Torrent

        215.    On January 8, 2009, Wyeth brought suit against Torrent Pharmaceuticals Limited

 and Torrent Pharma Inc. (“Torrent”) in the District of Delaware for infringement of the ‘171

 patent, the ‘120 patent and the ‘958 patent. Wyeth charged Torrent with infringement of claims

 undefined.

        216.    Torrent answered, denying the allegations and claiming that all the patents were

 invalid and not infringed.

        217.    The case was closed per an order on June 30, 2010 after the parties filed under

 seal a Joint Settlement and Release Agreement on May 6, 2010. Under the order, the parties

 purported to stipulate that the patents were both valid and infringed. Torrent agreed not to enter

 the market until expiration of the ‘171 patent, the ‘120 patent and the ‘958 patent; however, the

 agreement provides a license to Torrent on undisclosed terms.

        11.     Cadila

        218.    On April 9, 2009, Wyeth brought suit against Cadila Healthcare Limited and

 Zydus Pharmaceuticals (USA) (“Cadila”) in the District of Delaware for infringement of the

 ‘171 patent, the ‘120 patent and the ‘958 patent. Wyeth charged Cadila with infringement of

 claims undefined.

        219.    Cadila answered, denying the allegations, and claiming that all the patents were

 invalid and not infringed.

        220.    The case was closed per an order on March 30, 2010 after the parties filed under

 seal a Joint Settlement and Release Agreement on January 28, 2010. Under the order, the parties

 purported to stipulate that the patents were valid and infringed. Cadila agreed not to enter the


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 market until expiration of the ‘171 patent, the ‘120 patent and the ‘958 patent; however, the

 agreement provides a license to Cadila on undisclosed terms.

        12.     Aurobindo

        221.    On April 22, 2010, Wyeth brought suit against Aurobindo Pharma Limited

 (“Aurobindo”) in the District of New Jersey for the infringement of the ‘171 patent, the ‘120

 patent and the ‘958 patent. Wyeth charged Aurobindo with infringement of claims undefined.

        222.    Aurobindo answered, denying the allegations, and claiming that all the patents

 were invalid and not infringed.

        223.    The case was closed per an order on January 6, 2011. The parties purported to

 stipulate that the patents were valid and infringed upon. Aurobindo agreed not to enter the

 market until expiration of the ‘171 patent, the ‘120 patent and the ‘958 patent; however, the

 agreement between Wyeth and Aurobindo provides a license to Aurobindo on undisclosed terms.

        13.     Orchid

        224.    On July 2, 2009, Wyeth brought suit against Orgenus Pharma Inc. and Orchid

 Chemicals and Pharmaceuticals (collectively, “Orchid”) in the District of New Jersey for the

 infringement of the ‘171 patent, the ‘120 patent and the ‘958 patent. Wyeth charged Orchid with

 infringement of claims undefined.

        225.    Orchid answered, denying the allegations, and claiming that all three patents were

 invalid, unenforceable, and not infringed.

        226.    A consent order of final judgment was entered on April 14, 2011. The parties

 purported to stipulate that the patents were valid and infringed. Orchid agreed not to enter the

 market until expiration of the ‘171 patent, the ‘120 patent and the ‘958 patent; however, the

 agreement between Wyeth and Orchid provides a license to Orchid on undisclosed terms.




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        14.     Intellipharmaceutics

        227.    On July 1, 2010 Wyeth brought suit against Intellipharmaceutics International

 Inc., Intellipharmacutics Corporation, and Intellipharmaceutics LTD (collectively,

 “Intellipharmaceutics”) in the Southern District of New York for the infringement of the ‘171

 patent, the ‘120 patent, and the ‘958 patent. Wyeth charged Intellipharmaceutics with

 infringement of claims undefined.

        228.    Intellipharmaceutics answered, denying the allegations, and claiming that all three

 patents were invalid, unenforceable, and not infringed.

        229.    A consent order of final judgment was entered on June 20, 2011. The parties

 purported to stipulate that the patents were valid and infringed. Intellipharmaceutics agreed not

 to enter the market until expiration of the ‘171 patent, the ‘120 patent and the ‘958 patent;

 however, the agreement between Wyeth and Intellipharmaceutics provides a license to

 Intellipharmaceutics on undisclosed terms.


 F.     Prior Allegations and Evidence of the Invalidity and Unenforceability of Wyeth’s
        Method of Use Patents

        230.    In patent infringement litigation against generic manufacturers, allegations about

 validity or enforceability, or rulings on the merits against a patent holder, are the kind of

 developments that taint the patent with an issue regarding its validity or enforceability.

        231.    Here, Wyeth asserted fourteen different generic manufacturers infringed the

 method of use patents. Simply by filing suit, Wyeth kept each of the fourteen generic

 equivalents of Effexor XR off the market for the shorter of two-and-a-half years or a decision on

 the merits. In answering Wyeth’s claim of infringement, each of the generic companies claimed

 that the patents were invalid. Several of the generic companies also alleged the patents were




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 unenforceable due to inequitable conduct. The validity and enforceability was to be actively

 litigated between Wyeth and the generic manufacturers.

        232.    However, Wyeth has, so far, settled each and every Effexor XR infringement suit

 before each court could render an opinion on the validity or enforceability of Wyeth’s patents.

 Wyeth orchestrated settlements with the generics in order to bring an end to the litigation it

 started before a court could find the asserted method of use patents invalid or unenforceable.

        233.    Despite Wyeth’s instituting fourteen infringement lawsuits, and would-be generic

 competitors’ allegations and evidence of invalidity and unenforceability, no court has, yet,

 entered an order determining the invalidity or enforceability of the ‘171, ‘958, and ‘120 patents.

 The only court to issue a substantive decision on the merits denied Wyeth’s motion for summary

 judgment regarding infringement but did not determine whether or not the patents themselves

 were valid and/or enforceable. In the rare instances where litigation with the generics

 approached either a summary judgment decision addressing invalidity/enforceability or a trial

 date, Wyeth settled with the generics.

        234.    Wyeth cannot insulate itself from liability for the anticompetitive effects of its

 fraudulent procurement of the method of use patents by bringing lawsuits it know it will lose and

 settling with the alleged infringing generic companies before the merits can be adjudicated. If

 the terms are favorable, generic manufacturers have a significant incentive to accept Wyeth’s

 offer. But prescription drug purchasers are still harmed by Wyeth’s anticompetitive scheme and

 sham litigation.

        235.    Settlement by the parties to the infringement actions cannot preclude those

 harmed by the anticompetitive effects of Wyeth’s wrongful actions (in both obtaining the patents

 and filing infringement suits) from seeking recovery for their damages.




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                VI.     MONOPOLY POWER AND MARKET DEFINITION

        236.    At all relevant times, Wyeth had monopoly power over Effexor XR and its

 generic equivalents because it had the power to maintain the price of the drug it sold as Effexor

 XR at supracompetitive levels without losing substantial sales to other products prescribed

 and/or used for the same purposes as Effexor XR, with the exception of generic extended-release

 venlafaxine hydrochloride capsules.

        237.    A small but significant, non-transitory price increase by Wyeth for Effexor XR

 would not have caused a significant loss of sales to other products prescribed and/or used for the

 same purposes as Effexor XR, with the exception of generic extended-release venlafaxine

 hydrochloride capsules.

        238.    Even at its monopoly price, Effexor XR does not exhibit significant, positive

 cross-elasticity of demand with respect to price, with any product other than AB-rated generic

 versions of Effexor XR.

        239.    Because of, among other reasons, psychotropic drugs’ heterogeneous responses in

 different patient populations, Effexor XR is differentiated from all products other than AB-rated

 generic versions of Effexor XR.

        240.    Wyeth needed to control only Effexor XR and its AB-rated generic equivalents,

 and no other products, in order to maintain the price of Effexor XR profitably at

 supracompetitive prices without losing nearly all of its sales. Only the market entry of a

 competing, AB-rated generic version of Effexor XR would render Wyeth unable to profitably

 maintain its current prices of Effexor XR without losing substantial sales.

        241.    Wyeth also sold Effexor XR at prices well in excess of marginal costs, and

 substantially in excess of the competitive price, and enjoyed high profit margins.

        242.    Wyeth has had, and exercised, the power to exclude competition to Effexor XR.


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        243.    To the extent that Plaintiffs are legally required to prove monopoly power

 circumstantially by first defining a relevant product market, Plaintiffs allege that the relevant

 market is all extended release venlafaxine hydrochloride capsules – i.e., Effexor XR (in all its

 forms and dosage strengths) and AB-rated bioequivalent extended release venlafaxine

 hydrochloride capsules.    During the period relevant to this case, Wyeth has been able to

 profitably maintain the price of Effexor XR well above competitive levels.

        244.    Wyeth, at all relevant times, enjoyed high barriers to entry with respect to

 competition to the above defined relevant market due to patent and other regulatory protections,

 and high costs of entry and expansion.

        245.    The relevant geographic market is the United States and its territories.

        246.    Wyeth’s market share in the relevant market was 100% until June of 2010,

 implying a substantial amount of monopoly power.

                                   VII.   MARKET EFFECTS

        247.    Wyeth’s acts and practices had the purpose and effect of restraining competition

 unreasonably and injuring competition by protecting Effexor XR from generic competition.

 Wyeth’s actions allowed it to maintain a monopoly and exclude competition in the market for

 extended release venlafaxine hydrochloride capsules, i.e., Effexor XR and its AB-rated generic

 equivalents, to the detriment of Plaintiffs and all other members of the Direct Purchaser Class.

        248.    Wyeth’s exclusionary conduct has delayed generic competition and unlawfully

 enabled it to sell Effexor XR without generic competition. But for Wyeth’s illegal conduct, one

 or more generic competitors would have begun marketing AB-rated generic versions of Effexor

 XR much sooner than they actually were marketed, and, at all events, would have been on the

 market no later than June 14, 2008. By way of examples and not limitation: (i) if there had been

 no fraud upon the PTO, the ‘171, ‘958, and ‘120 patents would not have issued, the patents


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 would never have been listed in the Orange Book, and thus the patents would never have been

 the subject of infringement litigation that led to the 30 month Hatch-Waxman month stay; (ii) if

 there had been no patents, there would have been no lawsuits, and with no lawsuits there would

 have been no settlements, all of which acted to further delay FDA approval and the timing of

 generic launch; (iii) if the lawsuits had not been brought, the 30 month Hatch-Waxman stay

 would never have been triggered, no settlements would have been necessary, and FDA approval

 would have been forthcoming by June of 2008 with generic makers ready, willing, and able to

 launch at that time.

        249.    The generic manufacturers seeking to sell generic Effexor XR had extensive

 experience in the pharmaceutical industry, including in obtaining approval for ANDAs and

 marketing generic pharmaceutical products.

        250.    Wyeth’s illegal acts to delay the introduction into the U.S. marketplace of any

 generic version of Effexor XR caused Plaintiffs and the Class to pay more than they would have

 paid for extended release venlafaxine hydrochloride capsules, absent Wyeth’s illegal conduct.

        251.    Typically, generic versions of brand-name drugs are initially priced significantly

 below the corresponding reference listed drug (“RLD”) branded counterpart to which they are

 AB-rated. As a result, upon generic entry, direct purchasers purchases of branded drugs are

 rapidly substituted for generic versions of the drug for some or all of their purchases. As more

 generic manufacturers enter the market, prices for generic versions of a drug predictably plunge

 even further because of competition among the generic manufacturers, and, correspondingly, the

 brand name drug continues to lose even more market share to the generics. This price

 competition enables all direct purchasers of the drugs to: (a) purchase generic versions of a drug

 at a substantially lower price, and/or (b) purchase the brand name drug at a reduced price.




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 Consequently, brand name drug manufacturers have a keen financial interest in delaying the

 onset of generic competition, and purchasers experience substantial cost inflation from that

 delay.

          252.   If generic competitors had not been unlawfully prevented from entering the

 market earlier and competing with Wyeth, direct purchasers, such as Plaintiffs and members of

 the Class, would have paid less for extended release venlafaxine hydrochloride capsules by (a)

 substituting purchases of less-expensive AB-rated generic Effexor XR for their purchases of

 more-expensive branded Effexor XR, (b) receiving discounts on their remaining branded Effexor

 XR purchases, and/or (c) purchasing generic Effexor XR at lower prices sooner.

          253.   Thus, Wyeth’s unlawful conduct deprived Plaintiffs and the Class of the benefits

 of competition that the antitrust laws were designed to ensure.

                                  VIII. ANTITRUST IMPACT

          254.   During the relevant period, Plaintiffs and members of the Direct Purchaser Class

 purchased substantial amounts of Effexor XR directly from Wyeth. As a result of Wyeth’s

 illegal conduct, members of the Direct Purchaser Class were compelled to pay, and did pay,

 artificially inflated prices for their extended release venlafaxine hydrochloride requirements.

 Those prices were substantially greater than the prices that members of the Direct Purchaser

 Class would have paid absent the illegal conduct alleged herein, because: (1) the price of brand-

 name Effexor XR was artificially inflated by Wyeth’s illegal conduct and/or (2) Direct Purchaser

 Class members were deprived of the opportunity to purchase lower-priced generic versions of

 Effexor XR sooner.

          255.   As a consequence, Plaintiffs and members of the Direct Purchaser Class have

 sustained substantial losses and damage to their business and property in the form of




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 overcharges. The full amount and forms and components of such damages will be calculated

 after discovery and upon proof at trial.

                            IX.    CLASS ACTION ALLEGATIONS

        256.    Plaintiffs, on behalf of themselves and all Direct Purchaser Class members, seek

 damages, measured as overcharges, trebled, against Defendants based on allegations of

 anticompetitive conduct in the market for Effexor XR and AB-rated generic equivalents.

        257.    Plaintiffs bring this action on behalf of themselves and, under Fed. R. Civ. P.

 23(a) and (b)(3), as representatives of a Direct Purchaser Class defined as follows:

                All persons or entities in the United States and its territories who
                purchased Effexor XR directly from the Defendant at any time
                during the period June 14, 2008 through and until the
                anticompetitive effects of the defendants’ conduct cease (the
                “Class Period”).

 Excluded from the Direct Purchaser Class are Defendants and its officers, directors,

 management, employees, subsidiaries, or affiliates, and all governmental entities.

        258.    Members of the Direct Purchaser Class are so numerous that joinder is

 impracticable. Plaintiffs believe that the Class numbers in the many scores of entities. Further,

 the Direct Purchaser Class is readily identifiable from information and records in the possession

 of the Defendants.

        259.    Plaintiffs’ claims are typical of the claims of the members of the Direct Purchaser

 Class. Plaintiffs and all members of the Direct Purchaser Class were damaged by the same

 wrongful conduct of Wyeth, i.e., they paid artificially inflated prices for venlafaxine

 hydrochloride and were deprived of the benefits of competition from cheaper generic versions of

 Effexor XR as a result of Wyeth’s wrongful conduct.




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        260.    Plaintiffs will fairly and adequately protect and represent the interests of the

 Direct Purchaser Class. The interests of the Plaintiffs are coincident with, and not antagonistic

 to, those of the Direct Purchaser Class.

        261.    Plaintiffs are represented by counsel with experience in the prosecution of class

 action antitrust litigation, and with particular experience with class action antitrust litigation

 involving pharmaceutical products.

        262.    Questions of law and fact common to the members of the Direct Purchaser Class

 predominate over questions that may affect only individual Class members because Wyeth has

 acted on grounds generally applicable to the entire Direct Purchaser Class thereby making

 overcharge damages with respect to the Direct Purchaser Class as a whole appropriate. Such

 generally applicable conduct is inherent in Wyeth’s wrongful conduct.

        263.    Questions of law and fact common to the Direct Purchaser Class include:

                a.      whether Wyeth willfully obtained and/or maintained
                        monopoly power over Effexor XR and its generic
                        equivalents;
                b.      whether Wyeth improperly listed the method of use patents
                        in the Orange Book;
                c.      whether Wyeth unlawfully excluded competitors and
                        potential competitors from the market for Effexor XR and
                        its AB-rated generic bioequivalents;
                d.      whether Wyeth unlawfully delayed or prevented generic
                        manufacturers from coming to market in the United States;
                e.      whether Wyeth maintained monopoly power by delaying
                        generic entry;
                f.      whether the law requires definition of a relevant market when direct proof
                        of monopoly power is available, and if so the definition of the relevant
                        market;

                g.      whether Wyeth’s activities as alleged herein have
                        substantially affected interstate commerce;
                h.      whether, and if so to what extent, Wyeth’s conduct caused antitrust injury
                        (i.e., overcharges) to Plaintiffs and the members of the Class; and



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                i.        the quantum of aggregate overcharge damages to the Class.
        264.    Class action treatment is a superior method for the fair and efficient adjudication

 of the controversy. Such treatment will permit a large number of similarly situated persons to

 prosecute their common claims in a single forum simultaneously, efficiently, and without the

 unnecessary duplication of evidence, effort, or expense that numerous individual actions would

 engender. The benefits of proceeding through the class mechanism, including providing injured

 persons or entities a method for obtaining redress on claims that could not practicably be pursued

 individually, substantially outweighs potential difficulties in management of this class action.

        265.    Plaintiffs know of no special difficulty to be encountered in the maintenance of

 this action that would preclude its maintenance as a class action.

                                   X.      CLAIM FOR RELIEF

                     Violation of Section 2 of the Sherman Antitrust Act (15 U.S.C. § 2)

        266.    Plaintiffs repeat and incorporate by reference all preceding paragraphs and

 allegations.

        267.    As described above, from October 1997 until June 2010, Wyeth possessed

 monopoly power in the market for extended release venlafaxine hydrochloride capsules. No

 other manufacturer sold a competing version of extended release venlafaxine, whether branded

 or generic, before June 2010.

        268.    Wyeth willfully and unlawfully acquired and maintained its monopoly power in

 the extended release venlafaxine hydrochloride capsule market from June 2008 through June

 2010 by engaging in an anticompetitive scheme to keep generic equivalents from the market –

 not as a result of providing a superior product, business acumen, or historical accident.




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        269.    Wyeth knowingly and intentionally engaged in an anticompetitive scheme

 designed to block and delay entry of AB-rated generic versions of Effexor XR to maintain their

 monopoly power. This scheme included,

             a. obtaining the ‘171, ‘958, and ‘120 patents by misleading the PTO and failing to
                exercise the duty of good faith;

             b. improperly listing the ‘171, ‘958, and ‘120 patents in the Orange Book;

             c. engaging in sham litigation; and

             d. prolonging the impact of their serial sham litigation through settlement
                arrangements that further delayed generic entry.

        270.    By their scheme, Defendants intentionally and wrongfully maintained their

 monopoly power with respect to Effexor XR in violation of Section 2 of the Sherman Act. As a

 result of this unlawful maintenance of monopoly power, Plaintiffs and members of the Class paid

 artificially inflated prices for their extended release venlafaxine hydrochloride requirements.

        271.    Plaintiffs and members of the Class have been injured in their business or

 property by Wyeth’s antitrust violations. Their injury consists of having paid, and continuing to

 pay, higher prices for their extended release venlafaxine hydrochloride requirements than they

 would have paid in the absence of those violations. Such injury, called “overcharges,” is of the

 type antitrust laws were designed to prevent, flows from that which makes Wyeth’s conduct

 unlawful, and Plaintiffs and the Class are the proper entities to bring a case concerning this

 conduct.

        272.    Wyeth’s anticompetitive conduct is not entitled to qualified Noerr-Pennington

 immunity.

        273.    Wyeth knowingly and intentionally engaged in sham litigation against

 manufacturers of AB-rated generic equivalents of Effexor XR. Wyeth repeatedly asserted that




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 generic manufacturers extended release venlafaxine formulations infringed its method of use

 patents, thereby automatically keeping each generic competitor off the market for at least 30

 months. Wyeth intentionally and deceptively alleged the generic manufactures’ products

 infringed its method of use patents. For each infringement suit, Wyeth knew at the time it filed

 that it had no realistic likelihood of success; that is, no realistic likelihood that a court would

 enforce the ‘171, ‘958, and ‘120 patents against a generic company. Wyeth knew, therefore, that

 no reasonable pharmaceutical manufacturer would have believed it had a reasonable chance of

 succeeding on the merits of these infringement lawsuits. Wyeth filed these sham lawsuits for the

 purposes of using a governmental process (including the automatic 30 month stay of FDA

 approval) as an anticompetitive weapon to keep generics off the market.

         274.    Wyeth engaged in serial sham lawsuits as part of a pattern or practice of

 successive filing undertaken for the purposes of harassment, injuring market rivals, and

 unreasonably delaying generic entry. Wyeth filed fourteen different lawsuits, all asserting

 unenforceable patents, for purposes of harassing generic manufacturers, keeping generics off the

 market, and preserving its Effexor XR monopoly. Wyeth settled each lawsuit before a court

 could find the patents unenforceable and negotiated deals with the generic companies that kept

 the first generic off the market until June 2010 and rest off the market until June 2011.

         275.    Wyeth engaged in three distinct Walker Process frauds.

         276.    First, Wyeth obtained method of use claims for extended release venlafaxine by

 fraudulently claiming clinical data showed Effexor XR reduced the incidence of nausea and

 vomiting associated with instant release Effexor. Wyeth knew that its clinical data did not show

 a decreased incidence of nausea. Wyeth knew that this information would be material to the

 patent examiner. Wyeth intentionally withheld the truth about the clinical data in order to




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 defraud the patent examiner into issuing patents that included method of use claims for the

 reduction in the incidence of vomiting.

        277.    Second, Wyeth obtained method of use claims for extended release venlafaxine

 by, first, failing to disclose its own Upton patent disclosed extended release venlafaxine and,

 later, failing to disclose that a patent examiner had found all method of use claims unpatentable

 in light of the Upton patent. Wyeth knew that both the Upton patent and the examiner’s rejection

 of the method of use claims in light of the Upton patent would be material to the later patent

 examiner. Wyeth intentionally withheld the Upton patent and the related examiner’s rejection in

 order to defraud the patent examiner into issuing patents that included method of use claims.

        278.     Third, Wyeth fraudulently claimed that an extended release version of Effexor

 was unexpected, despite knowing the Upton patent and the ‘589 PCT application previously

 disclosed extended release versions of Effexor. Wyeth intentionally failed to inform the

 examiner about the prior disclosures of extended release venlafaxine and further failed to correct

 its fraudulent representation that an extended release version of venlafaxine was surprising in

 order to defraud the patent examiner into issuing patents that pertained to Effexor XR.

                               XI.      DEMAND FOR JUDGMENT

        279.    WHEREFORE, Plaintiffs, on behalf of itself and the Direct Purchaser Class,

 respectfully request that the Court:

        a.      Determine that this action may be maintained as a class action pursuant to Fed. R.
                Civ. P. 23(a) and (b)(3), and direct that reasonable notice of this action, as
                provided by Fed. R. Civ. P. 23(c)(2), be given to the Class and declare the
                Plaintiffs the representative of the Direct Purchaser Class;

        b.      Enter judgment against Wyeth in favor of Plaintiffs and the Direct Purchaser
                Class;

        c.      Adjudge and decree the acts alleged herein, pursuant to Fed. R. Civ. P. 57 and 18
                U.S.C. § 2201(a), to be an unlawful restraint of trade in violation of Section 2 of
                the Sherman Act, 15 U.S.C. § 2;


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        d.      Award the Direct Purchaser Class damages (i.e., three times overcharges) in an
                amount to be determined at trial;

        e.      Award Plaintiffs and the Direct Purchaser Class their costs of suit, including
                reasonable attorneys’ fees as provided by law; and

        f.      Grant such other further relief as is necessary to correct for the anticompetitive
                market effects caused by Wyeth’s unlawful conduct, as the Court deems just.



                                      XII.    JURY DEMAND

        280.    Pursuant to Fed. Civ. P. 38, Plaintiffs on behalf of themselves and the proposed

 class demand a trial by jury on all issues so triable.



 Dated: June 22, 2011                               Respectfully submitted,

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